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                       Exhibit C
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                                 UNITED STATES DISTRICT COURT
                                   DISTRICT OF NEW JERSEY


    Mahmoud KHALIL,

                   Petitioner,

    v.
                                                                  Case No. 25-cv-01963
    Donald J. TRUMP, in his official capacity as                  (MEF-MAH)
    President of the United States; William P. JOYCE,
    in his official capacity as Acting Field Office               DECLARATION OF
    Director of New York, Immigration and Customs                 JOHNNY SINODIS
    Enforcement; Yolanda PITTMAN, in her official
    capacity as Warden of Elizabeth Contract Detention
    Facility; Caleb VITELLO, Acting Director, U.S.
    Immigration and Customs Enforcement; Kristi
    NOEM, in her official capacity as Secretary of the
    United States Department of Homeland Security;
    Marco RUBIO, in his official capacity as Secretary of
    State; and Pamela BONDI, in her official capacity as
    Attorney General, U.S. Department of Justice,

                   Respondents.



                            DECLARATION OF JOHNNY SINODIS

  I, Johnny Sinodis, declare under penalty of perjury, pursuant to 28 U.S.C. § 1746, that the
  following is true and correct:

  1. I am a partner at Van Der Hout LLP, which is located at 360 Post Street, Suite 800, San
     Francisco, CA 94108. I have personal knowledge of the matters stated herein. I am one of Mr.
     Khalil’s attorneys who is representing him in the above captioned-matter before this Court and
     also the Immigration Court. I have been practicing immigration law since December 2011.

  2. I write to provide the Court additional relevant information and updates on Mr. Khalil’s
     removal proceedings in Immigration Court.

  3. As the Court is aware, on March 17, 2025, nine days after the U.S. Department of Homeland
     Security (DHS) arrested and detained Mr. Khalil pursuant to the Rubio Determination, DHS
     asserted for the first time that he is removable from the United States pursuant to 8 U.S.C. §
     1227(a)(1)(A) because, per DHS, he was inadmissible under 8 U.S.C. § 1182(a)(6)(C)(i) when
     he adjusted his status to that of a lawful permanent resident (i.e., a green card holder) for


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      allegedly failing to disclose: (1) he was “a member of the United Nations Relief and Works
      Agency for Palestine Refugees (UNRWA) from June through November 2023, as a political
      affairs officer” (Allegation 6); (2) his alleged “continuing employment as a Program Manager
      by the Syria Office in the British Embassy in Beirut beyond 2022” (Allegation 7); and (3) he
      was “a member of the Columbia University Apartheid Divest (CUAD)” (Allegation 8).

  4. The alleged “failure to disclose” occurred in March 2024 when Mr. Khalil completed and filed
     his Form I-485, Application to Register Permanent Residence or Adjust Status, with the U.S.
     Citizenship and Immigration Services (USCIS). The Form I-485 is also commonly referred to
     as a “green card application.” Mr. Khalil signed his Form I-485 on March 26, 2024, and mailed
     it to USCIS on March 29, 2024.

  5. DHS asserted these additional allegations and the additional § 1227(a)(1)(A) charge of removal
     via a Form I-261, Additional Charges of Inadmissibility/Deportability. See Form I-261 dated
     Mar. 17, 2025 (Allegations 6 through 8).

  6. Under longstanding precedent from the Board of Immigration Appeals (BIA), DHS must prove
     by clear and convincing evidence that an alleged misrepresentation was willful, material, and
     made with the intent to deceive to establish inadmissibility under § 1182(a)(6)(C)(i) and
     removability under § 1227(a)(1)(A).1

  7. DHS’s Form I-261 does not assert that any of Mr. Khalil’s alleged “failure[s] to disclose” at
     the time he applied for his green card were willful, material, or done with the intent to deceive.
     As discussed below, at the outset of the May 22 hearing in Immigration Court, the Immigration
     Judge dismissed Allegation 7. During the hearing, Mr. Khalil testified, as relevant here, in
     response to allegations 6 and 8, and DHS did not cross-examine him on this testimony. In the
     parties’ closing arguments submitted to the Immigration Court on June 2, DHS did not
     reference or address Allegations 6 and 8.

  Removal Proceedings as to the § 1227(a)(1)(A) Charge:

  8. On April 8, 2025, the Immigration Judge (IJ) ordered DHS to submit all evidence in support
     of its allegations against Mr. Khalil by April 9, 2025.

  9. On April 9, 2025, DHS submitted documents in Immigration Court in support of their

  1
    I am providing the following BIA decisions as a reference for the Court: Matter of G-G-, 7 I&N
  Dec. 161, 164 (BIA 1956) (for immigration purposes, the term fraud “is used in the commonly
  accepted legal sense, that is, as consisting of false representation of a material fact made with
  knowledge of its falsity and with intent to deceive the other party.”); Matter of Y-G-, 20 I&N Dec.
  794, 796 (BIA 1994) (material misrepresentation requires: (1) the person procured, or sought to
  procure a benefit under U.S. immigration laws; (2) the person made a false representation and the
  false representation was willfully made; (3) the false representation was material; and (4) the false
  representation was made to a U.S. government official); Matter of D-R-, 27 I&N Dec. 105, 107
  (BIA 2017) (a finding of a willful, material misrepresentation must be based on “clear,
  unequivocal, and convincing evidence.”).


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      allegations that Mr. Khalil failed to disclose information on his March 26, 2024, Form I-485.
      The following documents correspond to these allegations:

         (a) a screenshot of a website showing Mr. Khalil as a speaker at a conference for the
             Society for International Development (SID) in 2025 and erroneously stating he works
             at the Syria Office in the British Embassy in Beirut;

         (b) tabloid articles and blog posts dating between April 26, 2024, and March 11, 2025,
             which (a) erroneously state that Mr. Khalil’s LinkedIn profile reflected that he was
             employed as a political affairs officer with UNRWA from June to November 2023 and
             (b) falsely claim Mr. Khalil was the leader of CUAD, while also providing no
             supporting evidence;

         (c) several articles describing Mr. Khalil as the negotiator on behalf of all student
             protestors involved in Columbia University’s encampment; and

         (d) the “About Us” page from UNRWA’s website, describing its work assisting Palestinian
             refugees.

  10. On April 11, 2025, Mr. Khalil submitted evidence to the Immigration Court refuting DHS’s
      allegations and evidence. See Exhibit 1 (Mr. Khalil’s submission of documents on April 11,
      2025).2

  11. On April 11, 2025, as relevant here, the IJ issued an order giving both parties until April 23,
      2025, to file any additional evidence on the § 1227(a)(1)(A) charge of removal.

  12. DHS did not file additional evidence on or before April 23, 2025.

  13. On April 23, 2025, Mr. Khalil filed additional documents with the Immigration Court further
      refuting the charge that he willfully failed to disclose material information on his Form I-485
      or made a false representation with an intent to deceive the U.S. government. See Exhibit 2
      (Mr. Khalil’s submission of documents on April 23, 2025).3

  14. Mr. Khalil’s evidentiary submissions on April 11, 2025, and April 23, 2025, included the
      following documents:

         (a) In Opposition to Allegation 6 regarding UNRWA: (1) a letter from UNRWA to
             Columbia University, confirming that Mr. Khalil was an unpaid intern at UNRWA and
             that the internship was approved by Columbia University; (2) a letter from the
             Associate Director of Mr. Khalil’s master’s program at Columbia University, dated
             April 10, 2025, confirming that Mr. Khalil completed his internship with UNRWA for

  2
    On April 13, 2025, Mr. Khalil submitted the full record of immigration proceedings, to date, to
  the Court. See ECF 199. He reattaches his submission from April 11, 2025, discussed herein for
  ease of the Court’s review as Exhibit 1.
  3
    The April 23, 2025, immigration court evidence was previously filed with the Court as ECF 210-
  1 and is reattached here for ease of the Court’s review as Exhibit 2.


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             course credit at Columbia; (3) a printout of Mr. Khalil's LinkedIn profile,
             demonstrating that his role at UNRWA was publicly disclosed and was listed as an
             internship (not employment, as the tabloid article filed by DHS alleged); and (4) a letter
             from the Director of the UNRWA Representative Office confirming that Mr. Khalil
             served as an unpaid, voluntary intern at UNRWA between June 2023 and November
             2023.

         (b) In Opposition to Allegation 7 regarding the British Embassy: (1) Evidence Regarding
             Mr. Khalil’s participation in the SID conference in 2020—not 2025, as inaccurately
             portrayed in a screenshot submitted by DHS; (2) Mr. Khalil’s contract with the British
             Embassy showing an end date in November 2022; (3) a letter from Mr. Khalil’s
             colleague and the head of the office at the British Embassy, confirming he left the
             British Embassy in December 2022; and (4) a Letter from SID confirming Mr. Khalil
             is not a speaker in 2025.

         (c) In Opposition to Allegation 8 regarding CUAD: (1) a letter from a professor at
             Columbia University confirming Mr. Khalil was not a member of CUAD but in fact a
             negotiator on behalf of all students involved in the encampment, who liaised between
             the students and the administration; (2) a letter from a University Senator at Columbia
             confirming Mr. Khalil was not a member of CUAD; and (3) letters of support from
             Columbia students explaining Mr. Khalil’s role as a negotiator on behalf of all students.

  15. On April 25, 2025, the IJ scheduled an Individual Calendar Hearing (the equivalent of a trial
      in Immigration Court) for May 22, 2025, at 8:30 a.m.

  16. On May 12, 2025, DHS filed a motion to pretermit Mr. Khalil’s applications for asylum and
      for withholding of removal, arguing that there are reasonable grounds to believe that he is a
      danger to the security of the United States. See 8 U.S.C. §§ 1158(b)(2)(A)(iv),
      1231(b)(3)(B)(iv). As support for this argument, DHS alleged that, because Secretary of State
      Marco Rubio had determined Mr. Khalil’s presence in the United States to be adverse to a
      compelling foreign policy interest, he is also a danger to the security of the United States.

  17. On May 19, 2025, Mr. Khalil filed an opposition to DHS’s motion to pretermit.

  18. At the outset of the hearing on May 22, 2025, the IJ orally stated that, based on the evidence
      in the record, DHS could not sustain the allegation that Mr. Khalil had failed to disclose that
      he worked at the British Embassy after December 2022. See Form I-261 at Allegation 7. The
      IJ did not provide a ruling on the other two allegations—Allegation 6 and 8.

  19. The IJ also orally stated that she denied DHS’s motion to pretermit Mr. Khalil’s applications
      for asylum and for withholding of removal, rejecting DHS’ argument that she should find him
      a danger to the security of the United States.

  20. During his testimony at the May 22 hearing, as relevant here, Mr. Khalil provided further
      explanation for why the Form I-261’s allegations regarding UNRWA and CUAD lacked




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      merit.4

  21. As to UNRWA, Mr. Khalil testified that: (1) he received a stipend from Columbia University
      for his internship at UNRWA; (2) that he was paid directly by Columbia University; and (3)
      that he was never employed by UNRWA. He testified that, as part of his internship at UNRWA,
      he was required to submit reports to Columbia and author blog posts about his experience for
      the school. He testified that his supervisor at UNRWA was also required to submit a report to
      Columbia. Mr. Khalil disclosed his employment with Columbia University on his Form I-485,
      which necessarily included his internship at UNRWA. Because Columbia was his employer
      during his internship with UNRWA, Mr. Khalil understood that disclosing his employment at
      Columbia included that internship role. Mr. Khalil further testified that it is his understanding
      that, in June 2023, the U.S. Department of State was notified of his internship with UNRWA.
      Mr. Khalil explained that he relied on the guidance in the Form I-485 instructions, which do
      not mention internships, to complete the application. He further testified that individuals
      cannot be members of UNRWA, as membership of UNRWA is reserved for nation-states.

  22. When DHS had the opportunity to cross-examine Mr. Khalil about his internship at UNRWA
      and the documentary and testimonial evidence he provided about the information on his Form
      I-485, DHS did not ask him a single question.

  23. As to CUAD, Mr. Khalil testified that all of the purported evidence DHS filed in support of its
      allegation—that he willfully failed to disclose “membership” in CUAD on his March 2024
      green card application—concerns alleged activity that took place in April 2024, nearly a full
      month after he submitted his Form I-485.

  24. He further testified that he was never a member or a leader of CUAD. He testified that, to the
      best of his knowledge, CUAD is not an individual member organization and did not have a
      formal leadership. CUAD was comprised of over 120 different groups that ranged from those
      focusing on Palestine, to a climate club and a dance club. Mr. Khalil testified that, CUAD is
      just that—a coalition of existing groups, not a free-standing individual membership group—
      and that, as far as he is aware, CUAD operated without any hierarchy, leadership, or structure.
      Mr. Khalil further explained that, when protests began at Columbia—nearly three weeks after
      he submitted his Form I-485—faculty at Columbia reached out to him to act as a negotiator.
      Mr. Khalil explained how faculty approached him specifically because they wanted someone
      who was NOT part of the student groups leading the protests, as well as someone like Mr.
      Khalil who was trusted by the administration, students, and faculty, and who had experience
      with diplomacy and negotiation. Contemporaneously, students in Columbia’s encampment—
      which encompassed many students other than those affiliated with CUAD—also asked him to
      act as a negotiator. Mr. Khalil agreed to do so, and he began to go back and forth between the
      administration and the students. He relayed the positions of the administration to the hundreds
      of students in assembly-style meetings. The students then voted on their collective position by


  4
    In addition to testifying as to the meritless of the second charge of removal, Mr. Khalil also
  presented his own testimony and the testimony of four expert witnesses in support of his
  applications for asylum, withholding of removal, and protection under the Convention Against
  Torture.

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     raising their hands to vote. Mr. Khalil would then take their collective decision back to the
     administration.

  25. DHS had the opportunity to cross-examine Mr. Khalil about his alleged membership in CUAD
      and the documentary and testimonial evidence he provided about the information on his Form
      I-485 but again did not ask him a single question about this allegation or his testimony
      contradicting it.

  26. At the close of the May 22 hearing, the IJ ordered both parties to submit written closing
      arguments by June 2, 2025, at 5:00 p.m. Central Time.

  27. The parties filed their respective closing arguments on June 2, as the IJ ordered. DHS’s written
      closing argument did not dispute any of Mr. Khalil’s testimony nor the evidence submitted by
      him as to the second charge of removal, all of which showed that the § 1227(a)(1)(A) could
      not stand. In fact, DHS did not discuss in any way or even mention the § 1227(a)(1)(A) charge
      of removal, conceding, for all intents and purposes, that the § 1227(a)(1)(A) charge cannot be
      sustained.

  I declare under penalty of perjury that the foregoing statement is true and correct to the best of
  my own personal knowledge. Executed this 4th day of June 2025 at San Francisco, California.

                                                                             ____________________
                                                                                     Johnny Sinodis
                                                                                          Declarant




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                 Marc
                 Marc Van
                      Van Der
                          Der Hout
                              Hout                                                               DETAINED
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                 Johnny  Sinodis
                 Johnny Sinodis
                 Oona Cahill
                 Oona  Cahill
                 Van
                 Van Der
                      Der Hout
                          Hout LLP
                                LLP
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                 Attorneys for Respondent
                 Attorneys for Respondent
                 Mahmoud
                 Mahmoud KHALIL
                         KHALIL


                                        UNITED
                                        UNITED STATES
                                               STATES DEPARTMENT
                                                      DEPARTMENT OF
                                                                 OF JUSTICE
                                                                    JUSTICE

                                     EXECUTIVE
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                                                      THE IMMIGRATION
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                                                                      JUDGE

                                                      JENA,
                                                      JENA, LOUISIANA
                                                            LOUISIANA


                 In
                 In the
                    the Matter
                        Matter of:
                               of:

                 Mahmoud
                 Mahmoud KHALIL,
                         KHALIL,                                      Hearing  Date: April
                                                                      Hearing Date:  April 11,
                                                                                           11, 2025
                                                                                               2025
                                                                      Hearing Time: 1:00 p.m.
                                                                      Hearing  Time: 1:00 p.m.
                 Respondent,
                 Respondent,                                          Before:
                                                                      Before: Hon.
                                                                              Hon. Judge
                                                                                    Judge Jamee
                                                                                          Jamee E.
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                 In
                 In Removal
                    Removal Proceedings.
                            Proceedings.




                         DOCUMENT LIST
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                                           MR. KHALIL’S
                                               KHALIL'S HEARING
                                                        HEARING ON APRIL 11,
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                        Respondent, Mr. Mahmoud
                        Respondent, Mr. Mahmoud KHALIL,
                                                KHALIL,                         , through
                                                                                  through counsel,
                                                                                          counsel, hereby submits
                                                                                                   hereby submits

                 attached Exhibits A
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                                             L. He
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                        Dated:
                        Dated: April 11, 2025
                               April 11, 2025                         Respectfully submitted:
                                                                      Respectfully submitted:


                                                                      ___________________
                                                                      Marc Van Der Hout
                                                                                    Hout
                                                                      Johnny Sinodis
                                                                      Johnny Sinodis
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                                                                      Oona Cahill
                                                                           Cahill
                                                                      Van Der Hout,
                                                                      Van Der        LLP
                                                                              Hout, LLP

                                                                      Attorneys for Mr.
                                                                      Attorneys for Mr. Khalil
                                                                                        Khalil
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                        EVIDENCE
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                  A. “Columbia
                  A.             has pushed
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                                                anti-Palestinian narrative,
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                     (Apr. 29, 2024), available at https://www.cnn.com/business/live-news/university-protests-
                     (Apr.  29, 2024),  available  at https://www.cnn.com/business/live-news/university-protests-
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                        Khalil
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                                    also asked
                                         asked what
                                                 what he  would say
                                                       he would       to Jewish
                                                                  say to  Jewish students  who feel
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                                                                                                feel unsafe    on campus.
                                                                                                                  campus.
                        “I would  say that the  liberation of  Palestine   and the Palestinians   and   the  Jewish
                        "I would say that the liberation of Palestine and the Palestinians and the Jewish people     people are
                                                                                                                            are
                        intertwined. They go hand in hand. Anti-Semitism and any form of racism has no place on
                        intertwined. They   go hand   in hand.   Anti-Semitism   and  any  form  of   racism   has no  place  on
                        campus and
                        campus   and in   this movement,"
                                       in this movement,” Khalil
                                                               Khalil said,
                                                                       said, noting
                                                                              noting that   some members
                                                                                      that some     members of  of Columbia’s
                                                                                                                   Columbia's
                        encampment are Jewish and held Passover seders earlier this week, led by Jewish Voices
                        encampment    are Jewish   and  held Passover    seders earlier this week,   led  by  Jewish Voices for
                                                                                                                             for
                        Peace. “They
                        Peace.  "They are
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                                           an integral   part of
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                                                                 this movement,"
                                                                      movement,” Khalil
                                                                                    Khalil said
                                                                                            said of
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                                                                                                     the organization.
                                                                                                         organization.

                  EVIDENCE
                  EVIDENCE DEMONSTRATING
                           DEMONSTRATING MR.
                                          MR. KHALIL'S
                                              KHALIL’S PUBLICLY
                                                       PUBLICLY DISCLOSED
                                                                DISCLOSED POSITION
                                                                          POSITION
                     AT
                     AT UNRWA
                        UNRWA WAS
                              WAS AN
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                                                FOR COURSE
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                                                                   THROUGH HIS
                                                                            HIS
                                             MASTER’S  PROGRAM
                                   COLUMBIA MASTER'S PROGRAM
                                   COLUMBIA

                  B.
                  B. Letter from UNRWA
                     Letter from  UNRWA New      York to
                                           New York     to the
                                                            the Assistant
                                                                  Assistant Director,
                                                                                  Director, MasterMaster of   of Public
                                                                                                                   Public Administration
                                                                                                                              Administration
                     in Development Practice (MPA-DP), the School of International and Public Affairs, Columbia
                     in Development  Practice (MPA-DP),      the  School      of  International         and   Public     Affairs,     Columbia
                     University, dated May 17, 2023
                     University, dated May  17, 2023                                                                                                3
                                                     ...............................................................................................3

                        II am
                           am pleased
                              pleased to inform you
                                      to inform you that
                                                    that SIPA
                                                         SIPA student,
                                                              student, Mahmoud
                                                                       Mahmoud Khalil,
                                                                               Khalil, has
                                                                                       has been
                                                                                           been selected
                                                                                                selected for
                                                                                                         for an
                                                                                                             an
                        internship
                        internship atat the
                                        the Representative
                                            Representative Office
                                                              Office of
                                                                     of the  United Nations
                                                                        the United     Nations Relief
                                                                                                Relief and  Works Agency
                                                                                                       and Works    Agency for
                                                                                                                             for
                        Palestine Refugees (UNRWA) in New York. We are looking forward to welcome Mahmoud
                        Palestine   Refugees   (UNRWA)     in New   York.  We   are   looking forward   to welcome   Mahmoud
                        to our team.
                        to our  team. The
                                        The internship
                                            internship is
                                                        is unpaid
                                                           unpaid and
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                                                                                                  of three
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                                                                                                           months. It
                                                                                                                    It is
                                                                                                                       is
                        expected
                        expected toto commence
                                      commence on on 11 June
                                                        June toto 31
                                                                  31 August
                                                                     August on on aa full-time
                                                                                     full-time basis;
                                                                                               basis; Mahmoud
                                                                                                       Mahmoud willwill transition
                                                                                                                        transition
                        to a part-time schedule from 1 September until 30 November to allow for the continuation of
                        to a part-time   schedule  from  1  September    until  30  November    to allow  for the continuation   of
                        his
                        his studies.
                            studies.

                  C.
                  C. Letter
                     Letter from
                            from Associate
                                  Associate Director
                                              Director and
                                                        and Adjunct
                                                              Adjunct Associate
                                                                            Associate Professor,
                                                                                              Professor, Master  Master of     of Public
                                                                                                                                     Public
                     Administration in Development Practice, School of International and Public Affairs,
                     Administration in  Development     Practice,  School        of    International          and     Public       Affairs,
                     Columbia
                     Columbia University,
                               University, dated
                                           dated April 10, 2025
                                                 April 10,                                                                                   5
                                                           2025 .............................................................................5


                        II certify that, as
                           certify that, as part of the
                                            part of the MPA-DP [Master of
                                                        MPA-DP [Master of Public Administration in
                                                                          Public Administration in Development
                                                                                                   Development
                        Practice]    core curriculum,
                        Practice] core     curriculum, Mahmoud
                                                         Mahmoud Khalil       concluded his
                                                                     Khalil concluded     his 3.0
                                                                                              3.0 credit
                                                                                                   credit 12-week
                                                                                                          12-week summer
                                                                                                                    summer
                        placement,
                        placement, in in 2023,
                                         2023, atat the
                                                    the United
                                                        United Nations
                                                                 Nations Relief
                                                                          Relief and  Works Agency
                                                                                 and Works              (UNRWA). The
                                                                                               Agency (UNRWA).        The MPA-
                                                                                                                           MPA-
                        DP program trains aspiring practitioners to understand, develop, and implement integrated
                        DP   program    trains  aspiring   practitioners  to understand,   develop,   and  implement    integrated
                        approaches
                        approaches to  to sustainable
                                          sustainable development,
                                                        development, emphasizing
                                                                        emphasizing practical
                                                                                       practical knowledge
                                                                                                   knowledge andand skills.  The
                                                                                                                     skills. The
                        core curriculum, in combination with internships such as this, provide students with
                        core   curriculum,   in combination     with internships  such  as  this, provide  students   with aa solid
                                                                                                                              solid
                        background in the theories and methods of development. As a supplement to coursework,
                        background     in  the theories  and  methods   of development.    As  a  supplement   to coursework,
            44
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                        skills
                        skills training   through internships
                                training through    internships equip
                                                                  equip students
                                                                        students with   the management,
                                                                                  with the                   communication,
                                                                                             management, communication,
       3 of




                        quantitative,   and analytical
                        quantitative, and     analytical skills
                                                          skills needed
                                                                 needed to   work fluidly
                                                                         to work           across disciplines
                                                                                  fluidly across    disciplines and
                                                                                                                 and regions.
                                                                                                                      regions.
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                                                                                                           Mahmoud KHALIL,
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        Uploaded on: 04/11/2025
                     04/11/2025 at 12:57:53
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                    D. Printout of
                    D. Printout ofMr.
                                   Mr. Khalil's
                                       Khalil’s LinkedIn
                                                LinkedInprofile,
                                                          profile, demonstrating
                                                                   demonstratingthat      thathishisrole
                                                                                                      role atat UNRWA
                                                                                                                 UNRWA was       waspublicly
                                                                                                                                        publicly
                       disclosed and was listed as an internship
                       disclosed  and was listed as an internship                                                                                  7
                                                                   ................................................................................7

                    E. Evidence
                    E. Evidence of UNRWA USA's
                                of UNRWA USA’s 501(c)(3)
                                               501(c)(3) status
                                                         status ......................................................................12
                                                                                                                                      12



                        EVIDENCE
                        EVIDENCE DEMONSTRATING
                                 DEMONSTRATING THE
                                                 THE SOCIETY
                                                     SOCIETY FOR
                                                               FOR INTERNATIONAL
                                                                   INTERNATIONAL
                     DEVELOPMENT
                     DEVELOPMENT WEBSITE
                                  WEBSITE SUBMITTED
                                          SUBMITTED BY
                                                     BY DHS
                                                        DHS IS
                                                            IS OUTDATED,
                                                               OUTDATED, ERRONEOUS,
                                                                          ERRONEOUS,
                    AND DOES NOT ESTABLISH THAT HE WORKED   FOR  THE UK’S SYRIA OFFICE
                    AND DOES NOT ESTABLISH THAT HE WORKED FOR THE UK'S SYRIA OFFICE
                                         IN
                                         IN BEIRUT BEYOND 2022

                    F.
                    F. 2020
                       2020 Annual
                            Annual Conference      Social Media
                                     Conference Social    Media Toolkit,      Society for
                                                                   Toolkit, Society         for International
                                                                                                  International Development,
                                                                                                                         Development,
                       October 7-8, 2020, listing Mr. Khalil as a speaker
                       October 7-8, 2020, listing Mr. Khalil as a speaker                                                                  15
                                                                          .................................................................15

                    G.
                    G. 2020
                       2020 Annual
                            Annual Conference Schedule, Society
                                   Conference Schedule, Society for
                                                                for International
                                                                    International Development,
                                                                                  Development, listing
                                                                                               listing Mr.
                                                                                                       Mr. Khalil
                                                                                                           Khalil
                          as    speaker on
                          as aa speaker    October 7,
                                        on October    2020.............................................................................................20
                                                   7, 2020                                                                                             20


                     EVIDENCE
                     EVIDENCE DEMONSTRATING MR. KHALIL
                              DEMONSTRATING MR. KHALIL LEFT
                                                       LEFT HIS
                                                            HIS EMPLOYMENT
                                                                EMPLOYMENT IN
                                                                           IN THE
                                                                              THE
                           BRITISH EMBASSY IN
                           BRITISH EMBASSY IN DECEMBER
                                              DECEMBER 2022,
                                                       2022, AS STATED ON
                                                             AS STATED ON HIS
                                                                          HIS FORM
                                                                              FORM I-485
                                                                                   I-485

                    H. Mr. Khalil’s
                    H. Mr. Khalil's signed
                                     signed Independent
                                            Independent Contractor
                                                        Contractor Agreement
                                                                   Agreement with the British
                                                                             with the  British Embassy
                                                                                                   Embassy in      in Beirut,
                                                                                                                       Beirut,
                       showing his contract with the Embassy ended in December 2022
                       showing  his contract with the Embassy ended in December 2022                                          25
                                                                                      ........................................25

                    I.
                    I. Email from
                       Email from                                      ,, British
                                                                          British Embassy
                                                                                  Embassy Beirut confirming that
                                                                                          Beirut confirming that Mr.
                                                                                                                 Mr. Khalil left his
                                                                                                                     Khalil left his
                          position at the
                          position at the Embassy in December
                                          Embassy in December 2022                                                                           27
                                                              2022 ..........................................................................27

                             EVIDENCE DEMONSTRATING MR.
                             EVIDENCE DEMONSTRATING  MR. KHALIL
                                                         KHALIL WAS NOT A
                                                                WAS NOT   MEMBER OF
                                                                        A MEMBER OF
                                   COLUMBIA UNIVERSITY APARTHEID DIVEST (CUAD)
                                   COLUMBIA UNIVERSITY APARTHEID DIVEST (CUAD)

                    J.
                    J. Letter
                       Letter from
                              from                                                                Professor
                                                                                                  Professor at    at Barnard
                                                                                                                      Barnard College
                                                                                                                                   College and   and Columbia
                                                                                                                                                       Columbia
                          University
                          University                                                                                                                               29
                                     ..............................................................................................................................29


                          II am
                             am aa Professor
                                   Professor of
                                              of A            at
                                                              at Barnard  College and
                                                                 Barnard College  and Columbia
                                                                                       Columbia University.
                                                                                                 University. II spent
                                                                                                                spent aa lot
                                                                                                                         lot
                           of time at the encampment in the spring of 2024: I was there to observe and de-escalate the
                           of time  at the encampment in the spring of 2024: I was there to observe and de-escalate    the
                          situation.
                          situation. II had
                                         had many
                                              many conversations
                                                     conversations with
                                                                    with Mahmoud
                                                                         Mahmoud Khalil,
                                                                                       Khalil, as
                                                                                               as well
                                                                                                  well as
                                                                                                       as one
                                                                                                           one conversation
                                                                                                                 conversation with
                                                                                                                                with
                          members of the Columbia administration involved in the negotiations. I want to emphasize
                          members     of  the Columbia    administration  involved   in the negotiations.  I  want  to  emphasize
                          that Mahmoud
                          that Mahmoud Khalil's
                                              Khalil’s involvement  was not
                                                       involvement was   not as
                                                                              as aa member
                                                                                    member of of CUAD.
                                                                                                 CUAD. As As II understood
                                                                                                                understood it—it-
                          and also as is my understanding from the Columbia administrators with whom I spoke-Mr.
                          and  also   as is my   understanding  from  the Columbia     administrators   with   whom   I  spoke—Mr.
                          Khalil
                          Khalil served
                                  served as as aa negotiator
                                                  negotiator between   CUAD and
                                                             between CUAD      and other
                                                                                     other student
                                                                                           student protesters,
                                                                                                    protesters, on   the one
                                                                                                                  on the  one hand,
                                                                                                                               hand,
                          and  the Columbia
                          and the   Columbia administration,
                                                  administration, on
                                                                  on the
                                                                     the other.
                                                                          other. He
                                                                                  He was
                                                                                      was not
                                                                                           not aa member
                                                                                                  member ofofCUAD,
                                                                                                                CUAD, butbut rather
                                                                                                                             rather
                          he was nominated as a person who could serve as a go-between between students and the
                          he  was  nominated      as a person who  could  serve  as  a go-between   between     students  and  the
                          university administration.
                          university   administration. Mahmoud
                                                          Mahmoud Khalil's
                                                                     Khalil’s role
                                                                               role was
                                                                                     was to
                                                                                          to negotiate
                                                                                             negotiate aa peaceful
                                                                                                          peaceful solution
                                                                                                                     solution
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                          between the encampment participants and the Columbia administration, in the hopes
                          between    the  encampment     participants and  the  Columbia    administration,    in the hopes ofof
     - 44 of




                          avoiding
                          avoiding inviting
                                      inviting the   New York
                                                 the New  York City
                                                               City police  department onto
                                                                    police department     onto campus
                                                                                                 campus aa second
                                                                                                           second time.
                                                                                                                     time.
EOIR —
EOIR




                                                                                                                                                  3
                                                                                                                                                  3
                                                                                                                                      Document List
                                                                                                                                       Document List
                                                                                                                       Mahmoud
                                                                                                                       Mahmoud KHALIL,
                                                                                                                               KHALIL,
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                  K.
                  K. Letter
                     Letter from
                            from               University
                                               University Senator,
                                                          Senator, representing
                                                                   representing the
                                                                                the
                     at Columbia University, 2023-2024 academic year,
                     at Columbia University, 2023-2024 academic   year,
                        and member of
                        and member of the Senate Executive
                                      the Senate Executive Committee
                                                           Committee ..................................................................31
                                                                                                                                       31

                        The main
                        The  main point
                                   point of
                                          of this
                                             this letter
                                                  letter is
                                                          is to
                                                             to define
                                                                define what  Mahmoud’s role
                                                                       what Mahmoud's     role was
                                                                                               was as
                                                                                                    as itit relates
                                                                                                            relates toto CUAD.
                                                                                                                         CUAD.
                        Everything in this letter is from my personal experience and perspective of the 2023-2024
                        Everything   in this letter is  from   my personal  experience  and perspective      of the  2023-2024
                        academic
                        academic year.     While II cannot
                                   year. While      cannot speak
                                                              speak for anyone else,
                                                                    for anyone  else, any
                                                                                      any group,
                                                                                          group, or
                                                                                                  or any
                                                                                                     any institution,
                                                                                                             institution, II believe
                                                                                                                             believe
                        that my understandings of the situations and relationships that I discuss in this letter are
                        that my understandings      of  the situations  and relationships that I discuss    in  this letter  are
                        opinions  that are
                        opinions that   are shared
                                            shared widely
                                                     widely by by most
                                                                  most who
                                                                        who know
                                                                             know Mahmoud
                                                                                   Mahmoud andand anyone
                                                                                                   anyone who  who interacted
                                                                                                                     interacted
                        with him in the context of the student movement for Palestine at Columbia.
                        with him  in the  context  of  the student  movement   for Palestine at  Columbia.

                         Mahmoud
                         Mahmoud Khalil
                                      Khalil was
                                             was not
                                                  not aa member
                                                         member or or aa leader
                                                                         leader of   CUAD. He
                                                                                 of CUAD.     He was
                                                                                                   was known
                                                                                                         known by by many,
                                                                                                                     many,
                         including myself, as a compassionate, diplomatic, intelligent, and passionate Palestinian
                         including   myself, as a compassionate,     diplomatic,    intelligent,  and   passionate    Palestinian
                        student
                         student who
                                   who advocated
                                        advocated for
                                                   for his
                                                        his people
                                                            people and
                                                                    and for   the basic
                                                                          for the basic right
                                                                                          right to
                                                                                                 to freedom
                                                                                                     freedom ofof speech
                                                                                                                   speech and
                                                                                                                           and
                        protest. That is why protestors in the Columbia Encampment (also known as the Gaza
                         protest.  That  is why protestors   in the Columbia    Encampment        (also  known    as the Gaza
                         Solidarity
                         Solidarity Encampment)
                                      Encampment) asked
                                                     asked Mahmoud
                                                             Mahmoud to   to negotiate
                                                                             negotiate with
                                                                                         with the    University on
                                                                                               the University     on their
                                                                                                                     their behalf,
                                                                                                                           behalf,
                        and why he agreed to represent them at the negotiating table. I know this from my role as
                         and   why  he agreed  to represent   them  at  the negotiating    table.  I know   this from  my  role as
                        part of the University Senate delegation that mediated and observed the negotiations. Any
                         part  of the University  Senate  delegation    that  mediated    and observed     the negotiations.   Any
                         allegation   that Mahmoud
                         allegation that    Mahmoud waswas aa member
                                                               member of    CUAD is
                                                                         of CUAD     is unequivocally
                                                                                        unequivocally false
                                                                                                          false and
                                                                                                                 and has
                                                                                                                      has no
                                                                                                                          no basis
                                                                                                                             basis in
                                                                                                                                   in
                        fact.
                         fact.

                   EVIDENCE
                   EVIDENCE THAT
                            THAT MR.
                                 MR. KHALIL'S
                                     KHALIL’S LOBBY,
                                                LOBBY, WHERE
                                                        WHERE HE
                                                               HE WAS
                                                                  WAS ARRESTED
                                                                      ARRESTED BY
                                                                               BY ICE
                                                                                  ICE
                  OFFICERS ON MARCH
                  OFFICERS ON MARCH 8,
                                     8, 2025,
                                        2025, WAS CLOSED TO
                                              WAS CLOSED  TO THE
                                                             THE PUBLIC
                                                                 PUBLIC AND
                                                                        AND THEREFORE
                                                                            THEREFORE
                    OFFICERS COULD NOT ENTER WITHOUT A JUDICIAL WARRANT, WHICH
                    OFFICERS COULD NOT   ENTER  WITHOUT   A JUDICIAL WARRANT, WHICH
                                            THEY
                                            THEY DID
                                                  DID NOT
                                                      NOT HAVE
                                                          HAVE

                  A.
                  A. Photos
                     Photos of
                            of signs
                               signs at
                                     at the
                                        the entrance
                                            entrance to Mr. Khalil's
                                                     to Mr. Khalil’s lobby
                                                                     lobby ......................................................36
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                                                                                                            KHALIL,
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                                                     CERTIFICATE OF SERVICE
                                                     CERTIFICATE OF SERVICE

                   On
                   On April  10, 2025,
                       April 10, 2025, I,I, Johnny Sinodis, caused
                                            Johnny Sinodis,  caused the
                                                                    the enclosed
                                                                        enclosed document
                                                                                  document to    be served
                                                                                              to be served on
                                                                                                            on the
                                                                                                                the U.S.
                                                                                                                    U.S.
                   Department
                   Department ofof Homeland
                                   Homeland Security
                                                Security via
                                                          via the
                                                              the EOIR
                                                                  EOIR Courts
                                                                        Courts and
                                                                               and Appeals    System (ECAS).
                                                                                    Appeals System                This
                                                                                                       (ECAS). This
                   document
                   document was
                              was electronically
                                   electronically filed
                                                   filed through
                                                         through ECAS
                                                                  ECAS and
                                                                         and both
                                                                             both parties
                                                                                  parties are
                                                                                          are participating
                                                                                               participating in
                                                                                                             in ECAS.
                                                                                                                 ECAS.
                   Therefore,
                   Therefore, there
                              there is
                                     is no
                                        no separate
                                            separate service
                                                     service completed.
                                                              completed.

                   Executed
                   Executed this 10th day
                            this 10th day of
                                          of April
                                             April 2025.
                                                   2025.
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           Columbia has pushed an anti-Palestinian
        narrative, lead student negotiator tells CNN
         From CNN's Samantha Delouya




                                                                              Ck


         Mahmoud Khalil speaks with CNN on Monday, April 29. CNN




         In a conversation with CNN's Wolf Blitzer, Columbia student lead negotiator Mahmoud Khalil,
         discussed what he called an "anti-Palestinian narrative" at the school amid pro-Palestinian
           protests.


                  "Over the past six months, these students, they have witnessed the killing of over 34,000
                  Palestinians in Gaza and despite all of this, the institution, Columbia at least, has only pushed
                  one narrative - an anti-Palestinian narrative on campus," Khalil said. "They feel that they are
                  alienated. They feel that the university is very biased against them," he said of the protesters.

         Khalil was also asked what he would say to Jewish students who feel unsafe on campus.

                  "I would say that the liberation of Palestine and the Palestinians and the Jewish people are
                  intertwined. They go hand in hand. Anti-Semitism and any form of racism has no place on
                  campus and in this movement," Khalil said, noting that some members of Columbia's
                  encampment are Jewish and held Passover seders earlier this week, led by Jewish Voices for
                  Peace.
                  "They are an integral part of this movement," Khalil said of the organization.
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                                                COLUMBIA UNIVERSITY
                                                          IN THE CITY OF NEW YORK

                                           SCHOOL OF INTERNATIONAL AND PUBLIC AFFAIRS


                                                                                             New
                                                                                             New York
                                                                                                 York City,
                                                                                                      City, April 10, 2025
                                                                                                            April 10, 2025


                    TO
                    TO WHOM IT MAY
                       WHOM IT MAY CONCERN
                                   CONCERN


                    This
                    This is
                          is to
                             to certify
                                certify that
                                         that Mahmoud    Khalil successfully
                                              Mahmoud Khalil    successfully concluded
                                                                              concluded an
                                                                                         an internship
                                                                                            internship for
                                                                                                       for 1.5
                                                                                                            1.5 credit
                                                                                                                credit as
                                                                                                                       as part
                                                                                                                          part
                    of
                    of his
                       his Master
                            Master ofof Public
                                        Public Administration   in Development
                                                 Administration in Development Practice
                                                                                 Practice (MPA-DP)
                                                                                          (MPA-DP) degree,
                                                                                                      degree, atat The
                                                                                                                   The
                    Permanent
                    Permanent Mission
                                  Mission of of the State of
                                                the State    Palestine to
                                                          of Palestine to the United Nations,
                                                                          the United Nations, during
                                                                                               during the
                                                                                                      the spring
                                                                                                           spring semester
                                                                                                                   semester
                     of 2024.
                     of 2024.


                    Furthermore,
                    Furthermore, II certify
                                    certify that,
                                            that, as part of
                                                  as part of the
                                                             the MPA-DP
                                                                 MPA-DP core
                                                                          core curriculum,
                                                                                curriculum, Mahmoud
                                                                                            Mahmoud Khalil
                                                                                                      Khalil concluded
                                                                                                             concluded
                    his 3.0 credit
                    his 3.0 credit 12-week
                                   12-week summer
                                             summer placement,     in 2023,
                                                       placement, in  2023, at
                                                                            at the
                                                                               the United
                                                                                   United Nations
                                                                                          Nations Relief
                                                                                                  Relief and
                                                                                                         and Works
                                                                                                              Works
                    Agency (UNRWA).
                    Agency   (UNRWA).


                    The MPA-DP
                    The  MPA-DP program
                                  program trains
                                          trains aspiring
                                                 aspiring practitioners
                                                          practitioners to
                                                                        to understand,
                                                                           understand, develop,
                                                                                        develop, and
                                                                                                  and implement
                                                                                                      implement
                    integrated approaches
                    integrated approaches to
                                          to sustainable
                                             sustainable development,
                                                          development, emphasizing
                                                                         emphasizing practical
                                                                                       practical knowledge
                                                                                                 knowledge and
                                                                                                            and skills.
                                                                                                                skills.


                    The core curriculum,
                    The core curriculum, in  combination with
                                          in combination with internships such as
                                                              internships such as this,
                                                                                   this, provide
                                                                                         provide students
                                                                                                 students with
                                                                                                          with aa solid
                                                                                                                  solid
                    background
                    backgroundinin the
                                   the theories
                                       theories and
                                                and methods
                                                    methods ofof development.
                                                                 development. As
                                                                               As aa supplement
                                                                                     supplement toto coursework,
                                                                                                     coursework, skills
                                                                                                                   skills
                     training through
                     training through internships
                                       internships equip
                                                   equip students
                                                         students with
                                                                    with the
                                                                         the management,
                                                                             management, communication,    quantitative,
                                                                                            communication, quantitative,
                     and analytical
                     and  analytical skills needed to
                                     skills needed to work
                                                      work fluidly
                                                           fluidly across
                                                                   across disciplines
                                                                           disciplines and
                                                                                       and regions.
                                                                                           regions.

                    Yours sincerely,
                    Yours sincerely,




                     Associate Director
                     Associate  Director and
                                         and Adjunct
                                             Adjunct Associate
                                                     Associate Professor
                                                                Professor
                     Master of Public Administration in
                     Master of Public Administration in Development
                                                        Development Practice
                                                                      Practice
             44
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                     School of
                     School    International and
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                     Columbi
                     Columbiaa University
                                University
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                  International Affairs
                  International Affairs Building
                                        Building 420 West 118
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                                                                            3328 New York, NY
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                                                                                                    212-854-2636 Fax
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                                               Mahmoud K. · 3rd
                                               MPA Candidate at SIPA | Columbia

                                               Columbia | SIPA
                                               New York, New York, United States . Contact info
                                               500+ connections

                                                 Message               + Follow        More




                                               Activity
                                               887 followers

                                               Mahmoud hasn't posted yet
                                               Recent posts Mahmoud shares will be displayed here.

                                                                                  Show all activity -


                                               Experience
                                                             Political Affairs Officer
                                                13147141,1
                                                             UNRWA · Internship
                                                             Jun 2023 - Nov 2023 · 6 mos
                                                             New York, United States

                                                             Main tasks included covering issues related to UNRWA at the Security
                                                             Council and General Assembly.

                                                             Foreign, Commonwealth and Development Office
                                                             Full-time · 4 yrs 7 mos

                                                             Programme Manager - Conflict, Stability & Security Fund
                                                             Sep 2022 - Dec 2022 · 4 mos
                                                             Managed UK-funded projects with a focus on accountability, justice, and
                                                             gender equality in Syria.

                                                             Programme Manager - Political Officer
                                                             Jun 2018 - Aug 2022 · 4 yrs 3 mos
                                                             Beirut District, Lebanon · On-site
             44
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                                                             Managed the prestigious Chevening Scholarship Program and reported
       14 of




                                                             on the situation in Syria.
     — 14
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                                                           Finance and Operations Manager / Lebanon Scholarship
                                                    2.
                                                           Program Lead
                                                           Jusoor
                                                           Jun 2013 - Jun 2018 · 5 yrs 1 mo
                                                           Lebanon

                                                           Oversaw the finance and operations of a growing program, which
                                                           expanded to serve 4,000 students across 3 centers and employ 45 staff

                                                           Field Officer
                                                  ‫ نجدة ناو‬Najda Now International
                                                           Jan 2013 - May 2013 . 5 mos
                                                           Lebanon




                                                  Education
                                                           Columbia | SIPA
                                                    SIPA   Master of Public Administration - MPA
                                                           Jan 2023 - Dec 2024


                                                           Lebanese American University
                                                           Bachelor's Degree, Computer Science
                                                           2015 - 2018

                                                                            Show all 3 educations ->


                                                  Volunteering
                                                           Social Media Coordinator
                                                    2.     Jusoor
                                                           Jan 2014 - Jul 2016 2 yrs 7 mos
                                                           Education


                                                           Youth Advisory Group Member
                                                   GPE Global Partnership for Education
                                                           Jun 2017 - Jan 2019 . 1 yt 8 mos
                                                           Education

                                                           Part of GPE's Youth Advisory Group advocating for access to quality
                                                           education for out of school children.



                                                  Skills
                                                  NGOS
                                                       12 endorsements


                                                  Teamwork

                                                       Endorsed by                   who is highly skilled at this

                                                   2 Endorsed by 2 colleagues at Jusoor

                                                       9 endorsements


                                                                               Show all 30 skills -
                  44
               of 44
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                                                  Courses


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                                               Project Management
                                                2 Associated with Jusoor

                                               Relief Rapid Assessment Methodology
                                                   Associated with Najda Now International

                                                                            Show all 4 courses -


                                               Languages
                                               Arabic
                                               Native or bilingual proficiency

                                               English
                                               Full professional proficiency



                                               Interests
                                               Companies         Groups          Newsletters   Schools


                                                        United Nations
                                                        5,839,262 followers

                                                              Following


                                                        Columbia Business School
                                                 4 231,844 followers
                                                           + Follow


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                                                Disaster and Humanitarian Relief · Economic Empowerment · Education . Human
                                                Rights . Politics . Poverty Alleviation . Science and Technology




                                                More profiles for you
             44
          of 44




                                                         Badar Khan Suri · 3rd
       16 of




                                                         Ph.D. in Peace & Conflict Studies
     — 16




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                                                        Laya Mosto · 3rd
                                                        Advocacy and Policy Officer, MPA in Development Practice
                                                           Message


                                                        Asmaa AbuMezied . 3rd
                                                        Gender and Economic Justice Advisor | Development Consulting |
                                                        Program Design and Management | LSE | Columbia University SIPA MPA-
                                                          + Follow


                                                        Paras Abbasi · 3rd
                                                        MPA | Climate finance and climate justice | Gender justice | Sustainable
                                                        development and financial inclusion | Human rights and advocacy
                                                          Message


                                                        Amy Greer in . 3rd
                                                        Partner K&L Gates White Collar Defense and Investigations | Securities &
                                                        Financial Regulatory Enforcement | Corporate Governance & ESG |
                                                          Message


                                                                                   Show all


                                                 People you may know
                                                 From Mahmoud's school

                                                        Nishat "Bella" T.
                                                        Assistant Commissioner, DYFJ I CUP NY Fellow 2023
                                                          i Connect


                                                        Stephanie McGregor
                                                        Retired Assistant Director Career Planning at City University of New York
                                                        School of Law

                                                          + Connect


                                                        Darren Rosenblum
                                                        Professor, McGill Law Faculty

                                                          ¿+ Connect


                                                        Scott Roehm
                                                        Director of Global Policy and Advocacy at The Center for Victims of
                                                        Torture

                                                          ·+ Connect


                                                        Zainab Tahir
                                                        Master's Candidate - Columbia University School of International and
                  44
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                                                           + Connect


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                                                           Washington, District of Columbia,
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                                                                     INC




                                            Publication 78
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                                            Organizations eligible
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                                                                        receive tax-deductible
                                                                                tax-deductible charitable
                                                                                                charitable contributions.
                                                                                                            contributions. Users
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                                            may  rely on this list in determining  deductibility of their contributions.
                                            may rely on this list in determining deductibility of their contributions.

                                            On Publication 78 Data List: Yes
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                                           Copies of
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                                                V Tax Year 2021 Form 990


                                                V Tax Year 2020 Form 990


                                                  Tax Year
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                                                   Washington Chapter



                                        2020 Annual
                                        2020 Annual Conference
                                                    Conference Social
                                                               Social Media
                                                                      Media Toolkit
                                                                            Toolkit

                   Date: October
                   Date: October 7-8,
                                 7-8, 2020
                                      2020
                   About: Join
                   About:  Join us
                                 us on
                                    on October
                                       October 77 and
                                                  and 88 for
                                                         for SID-Washington's
                                                             SID‐Washington's first-ever
                                                                                 first‐ever virtual
                                                                                            virtual conference!
                                                                                                     conference! While
                                                                                                                   While we
                                                                                                                          we
                   will miss
                   will miss gathering
                             gathering inin person,
                                            person, we
                                                    we are
                                                        are super
                                                             super excited
                                                                   excited about moving our
                                                                           about moving   our annual
                                                                                               annual conference
                                                                                                      conference online.
                                                                                                                   online. Join
                                                                                                                           Join
                   hundreds of other international development professionals to discuss and debate ideas, trends, and
                   hundreds   of other  international development     professionals to discuss and debate  ideas, trends,  and
                   challengesfacing
                   challenges  facing our
                                       our sector
                                           sector today.
                                                  today. Focusing
                                                          Focusing on
                                                                    on our
                                                                        our theme
                                                                            theme of
                                                                                   of The  Decade to
                                                                                      The Decade   to Deliver,
                                                                                                      Deliver, we
                                                                                                               we will
                                                                                                                    will
                   examine   what  we  need  to do as a community    to meet the Sustainable  Development    Goals
                   examine what we need to do as a community to meet the Sustainable Development Goals by 2030.     by 2030.

                   Just like
                   Just like our  in-person conference,
                             our in-person                 we will
                                               conference, we  will have
                                                                    have keynote
                                                                         keynote addresses,
                                                                                  addresses, plenaries,
                                                                                              plenaries, breakout
                                                                                                          breakout sessions,
                                                                                                                     sessions,
                   and  more.  We    will also have  workshops,   networking  opportunities,  and,  of
                   and more. We will also have workshops, networking opportunities, and, of course, ourcourse, our ever-popular
                                                                                                                    ever-popular
                   exhibit hall.
                   exhibit  hall. And,
                                  And, unconstrained
                                        unconstrained byby physical
                                                           physical space,  we expect
                                                                     space, we  expect speakers
                                                                                       speakers and
                                                                                                 and attendees
                                                                                                       attendees from
                                                                                                                  from all
                                                                                                                        all over
                                                                                                                            over
                   the  globe. With   our  focus  on networking,   we will have innovative  ways  for  you to interact
                   the globe. With our focus on networking, we will have innovative ways for you to interact with your with  your
                   peers from
                   peers  from all   sectors of
                                 all sectors  of development,
                                                 development,including
                                                                including NGOs,
                                                                           NGOs, contractors,
                                                                                 contractors, the
                                                                                              the private
                                                                                                   private sector,
                                                                                                            sector, consulting
                                                                                                                    consulting
                   firms,  government     agencies,  universities, small businesses, large corporations,   donors,
                   firms, government agencies, universities, small businesses, large corporations, donors, and      and anyone
                                                                                                                         anyone
                   else engaged
                   else  engaged inin the
                                      the important
                                           important work
                                                      work of  international development.
                                                            of international  development.

                                                            Join the
                                                            Join the Conversation
                                                                     Conversation
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                    Twitter: @sidwashington                                           Website: https://www.sidwconference.org
                                                                                      Website: https://www.sidwconference.org

                    Hashtags:
                    Hashtags:                                                         LinkedIn: Society
                                                                                      LinkedIn: Society for
                                                                                                        for International
                                                                                                            International Development,
                                                                                                                          Development,
                        · #SIDWConference
                           #SIDWConference                                            Washington Chapter
                                                                                      Washington  Chapter
                           ·     #SIDWOnline
                                  #SIDWOnline
                           ·     #globaldev
                                  #globaldev                                          Facebook: Society for
                                                                                      Facebook: Society for International Development,
                                                                                                            International Development,
                            ·    #VirtualConference
                                  #VirtualConference                                  Washington  Chapter
                                                                                      Washington Chapter
                           ·     #HappeningNow
                                  #HappeningNow
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                                                                                                  @sidwash

                    Please use
                    Please use these
                               these social
                                     social media
                                            media platforms to spread
                                                  platforms to spread the word to
                                                                      the word to everyone in the
                                                                                  everyone in the development
                                                                                                  development
                                                      community about
                                                      community about the Annual Conference!
                                                                      the Annual Conference!

                                                                 Sample Tweets
                                                                 Sample Tweets
                   Conference-Related
                   Conference-Related

                          .     Looking forward
                                 Looking forward to
                                                  to speaking
                                                     speaking at
                                                               at the
                                                                  the first-ever
                                                                      first-ever @SIDWashington
                                                                                  @SIDWashington #VirtualConference      this
                                                                                                      #VirtualConference this
                                 week! Join me at the #SIDWConference      for a full day of discussion about #globaldev  issues,
                                 week! Join me at the #SIDWConference for a full day of discussion about #globaldev issues,
                                 achieving SDG goals  by 2030, and  more!   Register  now:
                                 achieving SDG goals by 2030, and more! Register now: https://www.sidwconference.org
                                                                                             https://www.sidwconference.org

                          .     Join me tomorrow
                                 Join me tomorrow at
                                                  at [time]
                                                     [time] to
                                                            to discuss
                                                               discuss[topic]
                                                                       [topic] at
                                                                               at the
                                                                                  the 2020
                                                                                      2020 #SIDWConference.
                                                                                           #SIDWConference. Thank
                                                                                                            Thankyou
                                                                                                                  you for
                                                                                                                      for
             44
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                                 having me @SIDWashington    https://www.sidwconference.org/
                                 having me @SIDWashington https://www.sidwconference.org/
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                               #HappeningNow: TheThe 2020
                                                     2020 #SIDWConference
                                                          #SIDWConference isis underway.
                                                                               underway. I’ll
                                                                                         I'll be
                                                                                              be speaking
                                                                                                 speaking about
                                                                                                           about [topic]
                                                                                                                 [topic]
                               and look forward to an engaging #SIDWOnline  experience full of discussion, debate
                               and look forward to an engaging #SIDWOnline experience full of discussion, debate & &
                               networking  with people engaged in #globaldev! https://www.sidwconference.org
                               networking with people engaged in #globaldev! https://www.sidwconference.org



                                                            Sample LinkedIn Posts
                                                            Sample LinkedIn Posts
                          .   ItItis
                                   is almost
                                      almost time
                                              time for
                                                   for 2020
                                                       2020 #SIDWConference!
                                                             #SIDWConference! On    On October
                                                                                       October 7-8,
                                                                                                7-8, II am
                                                                                                        am excited  to join
                                                                                                            excited to join other
                                                                                                                            other
                               #GlobalDev      professionals at the first-ever Virtual  Society for International   Development,
                               #GlobalDev professionals at the first-ever Virtual Society for International Development,
                               Washington Chapter
                               Washington      Chapter (SID-W)
                                                        (SID-W) Conference!
                                                                 Conference! I’ll
                                                                               I'll be
                                                                                    be speaking  about [topic]
                                                                                       speaking about            and IIhope
                                                                                                         [topic] and   hope to
                                                                                                                             to see
                                                                                                                                see
                               you    there: https://www.sidwconference.org/
                               you there: https://www.sidwconference.org/
                                                           Sample Facebook
                                                           Sample Facebook Posts
                                                                           Posts
                          ·   Delighted
                               Delighted to
                                         to be
                                             be able
                                                 able to
                                                       to talk
                                                          talk about
                                                               about [topic]
                                                                      [topic] at
                                                                              at the
                                                                                 the first
                                                                                      first ever
                                                                                            ever virtual
                                                                                                 virtual #SIDWConference.
                                                                                                         #SIDWConference.
                               Registration  is still open  and you  can  be part  of the  conversation:  www.sidwconference.org
                               Registration is still open and you can be part of the conversation: www.sidwconference.org


                     Annual Conference
                     Annual Conference Speaker
                                       Speaker Twitter
                                               Twitter Handles
                                                       Handles and/or
                                                               and/or Organization:
                                                                      Organization:
                   Day 1
                   Day 1
                   Opening Plenary
                   Opening Plenary

                          ·
                         Fireside
                         Fireside Chat with USAID
                                  Chat with USAID Deputy  Administrator Bonnie
                                                   Deputy Administrator   Bonnie Glick
                                                                                 Glick
                                 Keynote Speaker:
                             o Keynote    Speaker: Bonnie
                                                   Bonnie Glick
                                                          Glick -- @USAIDBGlick,
                                                                   @USAIDBGlick, @USAID
                                                                                  @USAID
                             o
                             o   Moderator:  Wade  Warren  - @Deloitte,  @DeloitteGov
                                Moderator: Wade Warren - @Deloitte, @DeloitteGov
                   AM Panels

                          ·   Panel 1
                               Panel 1 (People)
                                       (People) -- Building
                                                   Building our
                                                            our Talent
                                                                Talent Pipeline
                                                                        Pipeline for
                                                                                 for Diversity,
                                                                                     Diversity, Equity,
                                                                                                Equity, and
                                                                                                        and Inclusion
                                                                                                            Inclusion
                                       Moderator: Yvette
                                   o Moderator:
                                   o                Yvette Burton
                                                           Burton -- @ycburtonphd,
                                                                     @ycburtonphd, @NYUniversity
                                                                                      @NYUniversity
                                   o
                                   o   Tonija Hope
                                      Tonija  Hope -- @HowardU
                                                      @HowardU
                                   o
                                   o    Carmen   Mezzera -- @apsiainfo
                                        Carmen Mezzera        @apsiainfo
                                        Uzra Zeya
                                   o Uzra           -
                                              Zeya - @UzraZeya, @AfPeacebuilding
                                                      @UzraZeya,     @AfPeacebuilding
                          ·   Panel 22 (Planet)
                               Panel    (Planet) -- Realizing
                                                    Realizing the
                                                                the Circular
                                                                    Circular Economy
                                                                             Economy Advantage
                                                                                      Advantage
                                   o    Moderator:     Wesley   Spindler - @wesleyspindler,  @AccentureStrat
                                  o Moderator: Wesley Spindler - @wesleyspindler, @AccentureStrat
                                   o
                                   o    Jon Angin
                                       Jon  Angin -- @TetraTechIntDev
                                                      @TetraTechIntDev
                                        Elissa Foster -- @Pantagonia
                                  o Elissa Foster
                                   o                      @Pantagonia
                                  o     David Stover
                                   o David     Stover -- @BureoInc
                                                          @BureoInc
                          ·   Panel  3 (Prosperity)    - Delivering  Economic Growth
                               Panel 3 (Prosperity) - Delivering Economic       Growth and
                                                                                        and Trade
                                                                                             Trade Support
                                                                                                   Support in
                                                                                                           in the "New Normal"
                                                                                                              the "New Normal"
                                        Moderator: Masood
                                   o Moderator:                  Ahmed -- @MasoodCGD,
                                                       Masood Ahmed       @MasoodCGD, @CGDev
                                                                                         @CGDev
                                        Jennifer Adams
                                   o Jennifer              - @USAIDMozambique
                                                  Adams - @USAIDMozambique
                                   o
                                   o    Anabel Gonzalez
                                       Anabel   Gonzalez -- @_AnabelG,
                                                              @_AnabelG, @PIIE
                                                                           @PIIE
                                   o
                                   o    Vasken Khabayan - @VKhabayan, @GAC_Corporate
                                        Vasken   Khabayan     - @VKhabayan,    @GAC_Corporate
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                                   o
                                   o    Gail Warrander
                                       Gail  Warrander-- @GWarrander,         @FCDOGovUK
                                                             @GWarrander, @FCDOGovUK
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                          ·   Panel 4
                               Panel  4 (Learning   Lab) -- How
                                         (Learning Lab)      How Effective
                                                                  Effective Partnerships
                                                                            Partnerships are
                                                                                         are Addressing
                                                                                             Addressing the
                                                                                                        the SDGs
                                                                                                            SDGs
     — 23




                                   o
                                   o    Facilitator: Joeanne
                                        Facilitator:  Joeanne Sonenshine
                                                                Sonenshine-- @jsonenshine,   @conn_impact
                                                                              @jsonenshine, @conn_impact
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EOIR




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                   Lunch Plenary
                   Lunch Plenary

                              Next Generation
                               Next Generation of Leaders and
                                               of Leaders and SDGs:
                                                              SDGs: Linking
                                                                    Linking Local
                                                                            Local and
                                                                                  and Global
                                                                                      Global for
                                                                                             for Systemic
                                                                                                 Systemic Change
                                                                                                          Change
                                   o
                                   o   Moderator: Jeffrey
                                       Moderator:    Jeffrey Caesar
                                                             Caesar
                                   o
                                   o   Mahmoud Khalil
                                       Mahmoud     Khalil -- @FCDOGovUK
                                                             @FCDOGovUK
                                   o
                                   o   Claire Sullivan   - @univofdayton
                                       Claire Sullivan - @univofdayton
                                   o
                                   o   Soazic Elise
                                       Soazic  Elise Wang
                                                     Wang Sonne
                                                             Sonne -- @WorldBank
                                                                      @WorldBank
                   PM Panels
                   PM Panels

                          ·   Panel
                               Panel 11 (People)
                                        (People) -- Focusing
                                                    Focusing on
                                                              on Women
                                                                  Women and
                                                                          and Girls
                                                                               Girls in
                                                                                     in COVID
                                                                                        COVID Response
                                                                                               Response and
                                                                                                        and Recovery
                                                                                                            Recovery
                                   o
                                   o    Moderator:    Caren  Grown   - @CarenGrown,
                                       Moderator: Caren Grown - @CarenGrown, @WorldBank@WorldBank
                                   o
                                   o    Gary Barker
                                       Gary   Barker –- @Promundo_US
                                                         @Promundo_US
                                   o    Patricia Greene
                                  o Patricia Greene
                                   o
                                   o    Dr. Valerie
                                       Dr.  Valerie Hudson
                                                     Hudson -- @BushSchool
                                                                @BushSchool
                          ·   Panel 2  (Planet)  - Environmental    Implication of
                               Panel 2 (Planet) - Environmental Implication         Infectious Diseases
                                                                                 of Infectious Diseases
                                   o
                                   o    Moderator: John
                                       Moderator:     John Parker
                                                           Parker -- @TetraTechIntDev
                                                                     @TetraTechIntDev
                                   o
                                   o    Hellen Amuguni
                                       Hellen  Amuguni -- @tuftsvet
                                                            @tuftsvet
                                  o     Patricia Bright
                                   o Patricia    Bright -- @USAID
                                                           @USAID
                                   o
                                   o    Sabri Zain  - @TRAFFIC_WLTrade
                                       Sabri Zain - @TRAFFIC_WLTrade
                          ·   Panel 3 (Prosperity)
                               Panel 3  (Prosperity) -- Local
                                                        Local Leadership   for Sustainable
                                                               Leadership for               Urban Development
                                                                               Sustainable Urban  Development
                                   o
                                   o    Moderator:    Tony  Pipa - @anthonypipa,   @BrookingsGlobal
                                       Moderator: Tony Pipa - @anthonypipa, @BrookingsGlobal
                                   o
                                   o    Yvonne
                                        Yvonne Aki-Sawyerr
                                                 Aki-Sawyerr -- @yakisawyerr
                                                                 @yakisawyerr
                                        Mauricio Rodas
                                   o Mauricio      Rodas -- @MauricioRodasEC
                                                            @MauricioRodasEC

                          ·   Panel
                               Panel 44 (Learning)
                                        (Learning) -- Disrupting  Racism through
                                                       Disrupting Racism  through Communications
                                                                                  Communications
                                        Facilitator: Jelena
                                  o Facilitator:     Jelena Hasbrouck
                                                            Hasbrouck -- @Jelenyo
                                                                         @Jelenyo
                                        Chizi Igwe
                                  o Chizi
                                  o                 - @DalbergTweet
                                              Igwe - @DalbergTweet
                   Day 2
                   Day 2
                   Opening Plenary
                   Opening Plenary
                          ·   Sean Cairncross -- @MCC_CEO,
                               Sean Cairncross    @MCC_CEO, @MCCGov
                                                            @MCCGov
                       Gloria
                      .  Gloria Steele
                                Steele -- @USAID
                                          @USAID
                   AM Panels
                   AM Panels

                          ·   Panel 1
                               Panel 1 (People)
                                       (People) -- Strategies
                                                   Strategies and
                                                              and Tools
                                                                  Tools for
                                                                         for Addressing
                                                                             Addressing Inequalities
                                                                                        Inequalities
                                   o
                                   o   Moderator: Carla
                                      Moderator:    Carla Koppell
                                                          Koppell -- @CarlaKoppell,
                                                                     @CarlaKoppell, @GeorgetownU
                                                                                     @GeorgetownU
                                   o    Lucie Amadou
                                   o Lucie     Amadou -- @counterpartint
                                                           @counterpartint
                                   o
                                   o    Maitreyi Bordia
                                       Maitreyi   Bordia Das
                                                           Das –- @DasMaitreyi,
                                                                  @DasMaitreyi, @WorldBank
                                                                                @WorldBank
                                        Rosarie  Tucci  -
                                  o Rosarie Tucci - @USIP
                                   o                      @USIP
                          ·   Panel 22 (Reimagining
                               Panel    (Reimagining Development)
                                                         Development) -- Reimagining
                                                                         Reimagining Development
                                                                                     Development
                                   o
                                   o   Moderator: Roger Ford - @FRogerFord, @Accenture
                                        Moderator:    Roger  Ford  - @FRogerFord, @Accenture
                                   o
                                   o    Nicole Barnes
                                       Nicole   Barnes -- @RTI_INTL_DEV
                                                           @RTI_INTL_DEV
                                   o
                                   o    Julie Becker  - @Chemonics
                                       Julie Becker - @Chemonics
                                  o     Jeremy Kanthor
                                   o Jeremy      Kanthor -- @DAIGlobal
                                                            @DAIGlobal
                                        Thomas Reilly
                                   o Thomas              - @TetraTechIntDev
                                                  Reilly - @TetraTechIntDev
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                                  o
                                   o    Erin Uggen
                                       Erin   Uggen -- @Nathan_Inc
                                                       @Nathan_Inc
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                                   o


                          ·   Panel
                               Panel 3 (Innovation Showcase Q&A)
                                     3  (Innovation   Showcase     Q&A)
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                                  Moderator: Nick
                                  Moderator:
                                   o
                                   o           Nick Martin
                                                     Martin -- @ncmart
                                                               @ncmart
                      · Panel  4 (Learning  Lab)
                          Panel 4 (Learning Lab)
                              o
                              o   Bobby Jefferson
                                 Bobby   Jefferson -- @DAIGlobal
                                                      @DAIGlobal
                              o
                              o   Jon Walton
                                 Jon  Walton
                   PM Panels
                   PM Panels

                          ·    Panel 1
                                Panel 1 (USAID’s
                                        (USAID's Digital
                                                 Digital Strategy
                                                         Strategy and the Decade
                                                                  and the        to Deliver)
                                                                          Decade to Deliver)
                                    o
                                    o   Moderator: Manisha   Aryal - @Chemonics
                                       Moderator: Manisha Aryal - @Chemonics
                              oo    Krista Baptista
                                    Krista Baptista -- @DAIGlobal
                                                        @DAIGlobal
                              o Craig     Jolley -- @JolleyWithAnE,
                                    Craig Jolley    @JolleyWithAnE, @USAID
                                                                         @USAID
                              oo    Michelle Parker
                                    Michelle  Parker -- @USAID
                                                         @USAID
                       · Panel
                           Panel 22 (Reimagining
                                    (Reimagining Development)
                                                     Development)
                              oo    Moderator: Wade
                                    Moderator:    Wade Warren,
                                                         Warren, @Deloitte
                                                                   @Deloitte
                              oo    Graham   Couturier    - @EqualAccessIntl
                                    Graham Couturier - @EqualAccessIntl
                              oo    Bob Fries
                                    Bob  Fries -- @acdivoca
                                                  @acdivoca
                              oo    Olivier Girard -- @1977Creative
                                    Olivier Girard     @1977Creative
                              oo    Michele Laird
                                    Michele  Laird -- @Michele_Laird,
                                                       @Michele_Laird, @abtassociates
                                                                          @abtassociates
                          Panel  3 (Food  Security)
                       · Panel 3 (Food Security)
                              oo    Moderator: Sylvia
                                    Moderator:    Sylvia Megret
                                                          Megret -- @SylviaMegret,
                                                                    @SylviaMegret, @acdivoca
                                                                                    @acdivoca
                              o MarkMark Castellino
                                          Castellino -– @CastellinoMark,
                                                         @CastellinoMark, @OpportunityIntl
                                                                             @OpportunityIntl
                              oo    Jocelyn Brown
                                    Jocelyn           Hall -- @
                                             Brown Hall       @ JocelynB_FAO,
                                                                JocelynB_FAO, @FAO
                                                                               @FAO
                              oo    Tracy  Mitchell   - @RTI_INTL_DEV
                                    Tracy Mitchell - @RTI_INTL_DEV (Doesn't(Doesn’thave
                                                                                   have her
                                                                                        her own
                                                                                            own account)
                                                                                                account)
                              oo    Lori Groves
                                   Lori  Groves Rowley
                                                   Rowley -- @LGRowley1
                                                              @LGRowley1
                       · Panel
                           Panel 44 (Learning
                                    (Learning Lab)
                                                 Lab)
                              oo    Tosca  Bruno-van     Vijfeijken -- @Tosca5Oaks
                                   Tosca Bruno-van Vijfeijken          @Tosca5Oaks
                   Closing Plenary
                   Closing Plenary
                          ·    Moderator:  GeorgeIngram
                                Moderator: George    Ingram -- @BrookingsInst
                                                               @BrookingsInst
                           ·   SarahMendelson
                                Sarah  Mendelson-- @SarahMendelson,
                                                    @SarahMendelson, @CarnegieMellon
                                                                        @CarnegieMellon
                           .   Shaun  Mickus   - @JNJGlobalHealth
                                Shaun Mickus - @JNJGlobalHealth
                           ·   Eric
                                Eric Reading    @eric_reading, @AbtAssociates
                                     Reading -- @eric_reading,  @AbtAssociates
                           ·   Tessie San
                                Tessie San Martin
                                           Martin -- @Tessie_Plan,  @PlanUSA
                                                     @Tessie_Plan, @PlanUSA
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                     Day 11
                     Day
                     Wednesday, October
                     Wednesday,  October 7,
                                         7, 2020
                                            2020
                     10:00 AM - 3:00 PM (Eastern Time)
                     10:00 AM - 3:00 PM (Eastern Time)
                     Please
                     Please note that the
                            note that the schedule
                                          schedule is
                                                   is subject
                                                      subject to
                                                              to change.
                                                                 change.
                     10:00 -- 10:55
                     10:00          AM (ET)
                              10:55 AM (ET)

                     Fireside
                     Fireside Chat
                              Chat with
                                   with USAID
                                        USAID Deputy
                                              Deputy Administrator Bonnie Glick
                                                     Administrator Bonnie Glick
                     To kick
                     To kick off our first
                             off our first ever Virtual Annual
                                           ever Virtual Annual Conference,
                                                               Conference, USAID
                                                                           USAID Deputy Administrator Bonnie
                                                                                 Deputy Administrator Bonnie Glick
                                                                                                             Glick will
                                                                                                                   will
                     join us
                     join us for
                             for aa fireside
                                    fireside chat
                                             chat with
                                                  with SID-Washington
                                                       SID-Washington incoming
                                                                      incoming Board
                                                                               Board Chair
                                                                                     Chair Wade
                                                                                           Wade Warren
                                                                                                Warren to
                                                                                                       to talk
                                                                                                          talk about
                                                                                                               about
                     priorities and
                     priorities and challenges
                                    challenges in international development
                                               in international development during
                                                                            during aa pandemic
                                                                                      pandemic and looking ahead
                                                                                               and looking       to aa
                                                                                                           ahead to
                     post-COVID world.
                     post-COVID world. Following
                                       Following up
                                                 up on
                                                    on their
                                                       their

                     discussion at
                     discussion at our
                                   our 2019
                                       2019 Annual
                                            Annual Conference,
                                                   Conference, Bonnie
                                                               Bonnie and
                                                                      and Wade
                                                                          Wade will
                                                                               will talk
                                                                                    talk about
                                                                                         about how
                                                                                               how things
                                                                                                   things have
                                                                                                          have
                     changed
                     changed more
                             more than
                                   than any
                                        any of
                                            of us
                                               us could
                                                  could have
                                                        have imagined
                                                             imaginedjust
                                                                       just aa year
                                                                               year ago
                                                                                    ago and
                                                                                        andprovide
                                                                                            provide their
                                                                                                    their thoughts
                                                                                                          thoughts on
                                                                                                                   on the
                                                                                                                      the
                     way forward
                     way forward in
                                 in unprecedented
                                    unprecedented and
                                                    and challenging times.
                                                        challenging times.
                     Keynote:
                     Keynote:
                     Bonnie Glick
                     Bonnie Glick -- Deputy
                                     Deputy Administrator,
                                            Administrator, USAID
                                                           USAID

                     Moderator:
                     Moderator:
                     Wade Warren
                     Wade   Warren -- Board
                                        Board Chair,  Society for
                                               Chair, Society for International
                                                                  International Development
                                                                                Development -- Washington
                                                                                               Washington Chapter,
                                                                                                           Chapter, Chief
                                                                                                                    Chief
                     Strategy Officer
                     Strategy Officer for
                                      for International
                                          International Development,   Deloitte Consulting
                                                        Development, Deloitte   Consulting and
                                                                                           and former
                                                                                               former Acting
                                                                                                      Acting
                     Administrator, USAID
                     Administrator,  USAID
                     11:00 -- 11:55
                     11:00          AM (ET)
                              11:55 AM (ET)
                           Track 1:
                         · Track
                         •       1: People
                                    People
                         · Track
                         • Track 2:
                                 2: Planet
                                    Planet

                            Track 3:
                         ·• Track 3: Prosperity
                                     Prosperity

                            Track 4:
                         ·• Track 4: Learning
                                     Learning Lab
                                              Lab

                            Other Features
                         ·• Other Features

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                     Building our
                     Building our Talent
                                  Talent Pipeline
                                         Pipeline for
                                                  for Diversity,
                                                      Diversity, Equity
                                                                 Equity and
                                                                        and Inclusion
                                                                            Inclusion
          27 of
        — 27




                     A diverse
                     A diverse workforce
                               workforce and
                                           and an inclusive climate
                                               an inclusive climate are
                                                                      are essential
                                                                          essential for
                                                                                    for ensuring
                                                                                        ensuring organizations
                                                                                                  organizations that
                                                                                                                that thrive
                                                                                                                     thrive
   EOIR -




                     and deliver globally. This panel will discuss  how   to enable a diverse, healthy workforce  for
                     and deliver globally. This panel will discuss how to enable a diverse, healthy workforce for our our field
                                                                                                                          field
   EOIR




                     and within
                     and within our
                                 our organizations
                                     organizations –- why  it’s essential
                                                      why it's  essential and  how to
                                                                           and how  to cultivate
                                                                                       cultivate and nurture talent.
                                                                                                 and nurture talent.

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                     Moderator:
                     Moderator:
                     Yvette Burton
                     Yvette Burton -- Lead
                                      Lead Faculty
                                           Faculty and Architect, Inclusion
                                                   and Architect, Inclusion By
                                                                            By Design
                                                                               Design Business
                                                                                      Business Certification
                                                                                               Certification Program,
                                                                                                             Program,
                     New York
                     New York University
                              University

                     Speakers:
                     Speakers:
                     Tonija Hope
                     Tonija Hope -- Director,
                                    Director, Ralph J. Bunche
                                              Ralph J. Bunche International  Affairs Center,
                                                               International Affairs Center, Howard
                                                                                             Howard University
                                                                                                      University
                     Carmen  Mezzera    - Executive Director, Association of Professional Schools of International
                     Carmen Mezzera - Executive Director, Association of Professional Schools of International
                     Affairs (APSIA)
                     Affairs (APSIA)
                     Uzra Zeya -- CEO
                     Uzra   Zeya  CEO and
                                      and President, Alliance for
                                          President, Alliance for Peacebuilding
                                                                  Peacebuilding
                     12:00
                     12:00 -- 12:25
                              12:25 PM
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                     Networking Lounges
                     Networking       Lounges
                     Want   to meet   others working on
                     Want to meet others working      on specific topic or
                                                         specific topic or issue?
                                                                           issue? Stop  by our
                                                                                   Stop by our networking     lounge to
                                                                                                networking lounge     to meet
                                                                                                                         meet
                     SID-Washington      Co-chairs and  other attendees.  Join  a table on a topic that is of  interest
                     SID-Washington Co-chairs and other attendees. Join a table on a topic that is of interest to you.  to you.
                     Feel free
                     Feel free to
                                to move
                                   move around
                                         around to
                                                 to multiple
                                                    multiple tables
                                                             tables during
                                                                     during this
                                                                             this 25-minute
                                                                                  25-minute session
                                                                                              session or
                                                                                                      or stay
                                                                                                         stay atat one
                                                                                                                   one the
                                                                                                                       the entire
                                                                                                                           entire
                     time. It's up  to you!
                     time. It's up to you!

                     The networking
                     The networking lounge
                                    lounge will
                                           will be
                                                be open all day
                                                   open all day for
                                                                for you
                                                                    you to
                                                                        to informally
                                                                           informally mingle
                                                                                      mingle with
                                                                                             with others,
                                                                                                  others, but
                                                                                                          but will
                                                                                                              will only
                                                                                                                   only
                     be facilitated
                     be facilitated by
                                    by SID-W
                                       SID-W Co-Chairs
                                             Co-Chairs during
                                                       during this
                                                              this 25-minute
                                                                   25-minute session.
                                                                             session.

                     Other Ways
                     Other Ways to
                                to Network
                                   Network

                         1. Visit the
                         1. Visit     virtual exhibit
                                  the virtual         hall.
                                              exhibit hall.
                        2. Participate
                        2.  Participate in
                                         in the
                                            the discussion  boards and
                                                discussion boards       create your
                                                                    and create your own  topics for
                                                                                     own topics for discussion.
                                                                                                    discussion.
                        3. Chat
                        3.  Chat one-on-one
                                  one-on-one with
                                                with other
                                                     other attendees.
                                                            attendees.
                        4.  Stop  by the  networking  lounge   throughout the
                        4. Stop by the networking lounge throughout       the day  to meet
                                                                               day to meet others.
                                                                                           others.
                     12:30 -- 1:25
                     12:30         PM (ET)
                              1:25 PM (ET)
                     Next Generation
                     Next Generation of
                                     of Leaders
                                        Leaders and
                                                and SDGs:
                                                    SDGs: Linking
                                                          Linking Local
                                                                  Local and
                                                                        and Global for Systemic
                                                                            Global for Systemic Change
                                                                                                Change

                     To deliver
                     To deliver on
                                on the
                                   the SDGs
                                       SDGs we
                                            we need
                                               need leadership
                                                    leadership at
                                                               at the
                                                                  the local
                                                                      local and
                                                                            and global
                                                                                global level.
                                                                                       level. And
                                                                                              And we
                                                                                                  we need
                                                                                                     need to
                                                                                                          to identify
                                                                                                             identify
                     strategies and
                     strategies and approaches
                                    approaches for
                                               for community
                                                   community engagement
                                                             engagement that
                                                                        that build
                                                                             build lasting
                                                                                   lasting results.
                                                                                           results. Our
                                                                                                    Our panel
                                                                                                        panel of
                                                                                                              of
                     leaders working
                     leaders working both
                                       both globally
                                             globally and
                                                      and locally
                                                          locally will
                                                                  will explore
                                                                       explore how
                                                                               how we
                                                                                    we can
                                                                                       can tap
                                                                                            tap into
                                                                                                into the
                                                                                                      the potential
                                                                                                          potential of
                                                                                                                    of new
                                                                                                                       new and
                                                                                                                           and
                     innovative digital
                     innovative  digital sources
                                         sources of
                                                 of data
                                                    data to
                                                         to track
                                                            track progress
                                                                   progress towards
                                                                            towards the
                                                                                     the SDGs.   What are
                                                                                         SDGs. What         examples of
                                                                                                        are examples   of
                     effective strategies
                     effective strategies for
                                          for community
                                              community engagement?
                                                          engagement? And And how
                                                                               how can
                                                                                   can artificial
                                                                                       artificial intelligence
                                                                                                  intelligence be
                                                                                                               be deployed
                                                                                                                  deployed as
                                                                                                                            as a
                                                                                                                               a
                     force for
                     force for good to achieve
                               good to         the SDGs?
                                       achieve the SDGs?
                     Moderator:
                     Moderator:
                     Jeffery Caesar
                     Jeffery Caesar -- Campaign
                                       Campaign Director,
                                                Director, 360
                                                          360 Campaign
                                                              Campaign Consulting
                                                                       Consulting
                     Speakers:
                     Speakers:
                     Mahmoud Khalil
                     Mahmoud Khalil -- Program
                                       Program Manager,
                                               Manager, UK's
                                                        UK's Syria
                                                             Syria Office
                                                                   Office in
                                                                          in Beirut
                                                                             Beirut

                     Claire Sullivan
                     Claire Sullivan -- Student
                                        Student Sustainability
                                                Sustainability Leader,
                                                               Leader, University
                                                                       University of
                                                                                  of Dayton
                                                                                     Dayton
                44
             of 44




                     Soazic
                     Soazic Elise
                            Elise Wang
                                  Wang Sonne
                                       Sonne -- Young Professional (Economist),
                                                Young Professional (Economist), Social
                                                                                Social Development
                                                                                       Development Global
                                                                                                   Global
          28 of




                     Practice, The
                     Practice, The World
                                   World Bank
                                         Bank Group
                                              Group
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   EOIR —




                     1:30 -- 2:25
                     1:30    2:25 PM
                                  PM (ET)
                                     (ET)
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                                                                                                                       22
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2 of 44                                                                                                                     4/10/25,
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                            Track 1:
                         ·• Track 1: People
                                     People

                            Track 2: Planet
                         ·• Track    Planet

                           Track 3:
                         · Track
                         •       3: Prosperity
                                    Prosperity

                         • Track 4:
                         · Track 4: Learning
                                    Learning Lab
                                             Lab
                            Other Features
                         .• Other Features

                     <
                     <


                     >
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                     Focusing on
                     Focusing    Women and
                              on Women and Girls in COVID
                                           Girls in COVID Response
                                                          Response and
                                                                   and Recovery
                                                                       Recovery
                     Women and
                     Women    and girls   are being
                                    girls are being disproportionately
                                                    disproportionately affected    economically and
                                                                          affected economically   and socially  by COVID-19,
                                                                                                       socially by  COVID-19, and
                                                                                                                                and
                     they risk losing  ground   in the recovery.  They  are the majority  of frontline workers   in the
                     they risk losing ground in the recovery. They are the majority of frontline workers in the responseresponse
                     and they
                     and        are losing
                          they are   losing jobs and income
                                            jobs and           disproportionately, even
                                                      income disproportionately,     even as
                                                                                           as they
                                                                                              they assume
                                                                                                   assume the
                                                                                                            the larger  share of
                                                                                                                larger share  of
                     paid and  unpaid    care responsibilities, and  face skyrocketing   rate of gender-based   violence.
                     paid and unpaid care responsibilities, and face skyrocketing rate of gender-based violence. This      This
                     panel will
                     panel  will discuss
                                 discuss the
                                          the impact
                                              impact of
                                                      of COVID
                                                         COVID on on efforts
                                                                     efforts to
                                                                             to foster
                                                                                foster gender
                                                                                       gender equality
                                                                                               equality and
                                                                                                        and strategies
                                                                                                             strategies for
                                                                                                                         for
                     preventing long-term
                     preventing   long-term backsliding
                                               backsliding of efforts for
                                                           of efforts for equality.
                                                                          equality.



                     Moderator:
                     Moderator:
                     Caren Grown
                     Caren Grown -- Global
                                    Global Director,
                                           Director, Gender,
                                                     Gender, The
                                                             The World Bank
                                                                 World Bank

                     Speakers:
                     Speakers:
                     Gary Barker
                     Gary   Barker -- CEO
                                      CEO and
                                           and Founder,
                                               Founder, Promundo
                                                         Promundo
                     Patricia  Greene   - Former Director, Women's Bureau,
                     Patricia Greene - Former Director, Women's      Bureau, U.S.
                                                                              U.S. Department
                                                                                   Department of
                                                                                               of Labor
                                                                                                  Labor
                     Valerie   Hudson   - University Distinguished Professor, Bush  School of Government
                     Valerie Hudson - University Distinguished Professor, Bush School of Government and  and Public
                                                                                                             Public
                     Service, Texas
                     Service, Texas A&M
                                    A&M University
                                          University

                     2:30 -- 3:30
                     2:30    3:30 PM
                                  PM (ET)
                                     (ET)

                     Fireside Chat
                     Fireside Chat with
                                   with Andrew
                                        Andrew Herscowitz,
                                               Herscowitz, Chief
                                                           Chief Development
                                                                 Development Officer,
                                                                             Officer, DFC
                                                                                      DFC

                     Keynote:
                     Keynote:
                     Andrew   Herscowitz -- Chief
                     Andrew Herscowitz      Chief Development
                                                  Development Officer,
                                                              Officer, U.S.
                                                                       U.S. International
                                                                            International Development
                                                                                          Development Finance
                                                                                                      Finance
                     Corporation
                     Corporation
                     Moderator:
                     Moderator:
                     Robert Mosbacher,
                     Robert  Mosbacher, Jr.Jr. -- Board
                                                  Board Chair, Mosbacher Energy
                                                        Chair, Mosbacher Energy Company
                                                                                Company and
                                                                                        and Former
                                                                                            Former President
                                                                                                   President and
                                                                                                             and
                     CEO, Overseas Private Investment   Corporation
                     CEO, Overseas Private Investment Corporation
                     Keynote Address:
                     Keynote Address: David
                                      David Miliband, International Rescue
                                            Miliband, International Rescue Committee
                                                                           Committee
                44
             of 44
          29 of




                     We will
                     We  will end
                              end our
                                  our first
                                      first day
                                            day with
                                                with aakeynote
                                                       keynote address
                                                                address byby International
                                                                             International Rescue
                                                                                           Rescue Committee
                                                                                                   Committee (IRC)
                                                                                                               (IRC)
        — 29




                     President  and CEO   David   Miliband. David  is leading  IRC through  extraordinarily difficult
                     President and CEO David Miliband. David is leading IRC through extraordinarily difficult times   times
   EOIR -




                     and will
                     and will comment
                               comment onon the
                                             the challenges
                                                 challenges facing
                                                            facing all
                                                                   all of
                                                                       of us
                                                                          us and
                                                                             and how  he and
                                                                                 how he  and IRC
                                                                                              IRC are
                                                                                                  are navigating  them.
                                                                                                      navigating them.
   EOIR




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           Exh. 13 - Adm.

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                     Keynote:
                     Keynote:
                     David
                     David Miliband
                           Miliband -- President
                                       President and
                                                 and CEO,
                                                     CEO, International Rescue Committee
                                                          International Rescue Committee (IRC)
                                                                                         (IRC)
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         Exh. 13 - Adm.

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                                                                                                         British Embassy
                                   01 November 2022                                                            Beirut

                                   Private and Confidential

                                   Mahmoud Khalil
                                   British Embassy Beirut
                                   Dear Mahmoud,

                                   Re: Extension of Fixed Term Contract

                                   As you are aware your Independent Contractor Agreement as CSSF Syria Projects
                                   Manager at the British Embassy Beirut will end on 20 November 2022.

                                   I am writing to confirm the extension of your Independent Contractor Agreement until
                                   20th December 2022.

                                   The terms and conditions of your employment will remain the same as per your
                                   original agreement.

                                   Please confirm your acceptance by signing the acknowledgement receipt below and
                                   return it to the Human Resource Department, Corporate Services.

                                   May I take this opportunity to thank you for your valued contribution to British
                                   Embassy Beirut.
                                                                           EM
                                                                           H    BA
                                   Yours sincerely,                                  SS

                                   Head of Corporate
                                                                               10
                                                                        BEIRUT
                                   I hereby acknowledge receipt of the letter of appointment setting out the conditions
                                   for locally engaged staff at the British Embassy in Beirut. Having read and fully
                                   understood them, I agree to accept them as the conditions governing my
                                   employment at the British Embassy, Beirut.

                                                                        Signed      Shnood Khalil
                                                                        Name in full      Mahmoud Khalil
                                                                        Date        12/11/2022
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Sent: Friday, April 11, 2025 11:51:58 AM                                         PageID: 3293
To:
Subject: Mahmoud Khalil Contract

                                                                                          OFFICIAL



To whom it may concern

I can confirm that Mahmoud Khalil ended his contract at the British Embassy Beirut in December 2022 in order to take up a scholarship at Columbia University.
Mahmoud has not worked for the Embassy since, albeit he was an excellent and respected member of staff during his time here and also a worthy recipient of a
scholarship.

Regards


British Embassy Beirut
+961 81 512 80


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                         April 10,
                         April 10, 2025
                                   2025
                         Executive Office
                         Executive        for Immigration
                                   Office for Immigration Review
                                                          Review
                         Immigration   Court
                         Immigration Court
                         830 Pinehill
                         830  Pinehill Road
                                       Road
                         Jena, LA 71342
                         Jena, LA 71342

                         Dear Sir/Madam,
                         Dear Sir/Madam,
                         II am
                            am aa Professor
                                  Professor of
                                             of             at
                                                            at Barnard
                                                               Barnard College
                                                                        College and
                                                                                and Columbia
                                                                                    Columbia University.
                                                                                               University. II
                          spent  a lot of time at the encampment in the spring of 2024: I was there
                         spent a lot of time at the encampment in the spring of 2024: I was there toto observe
                                                                                                       observe
                         and de-escalate
                         and               the situation.
                              de-escalate the  situation. II had
                                                             had many
                                                                 many conversations
                                                                        conversations withwith Mahmoud
                                                                                                Mahmoud Khalil,
                                                                                                             Khalil, as
                                                                                                                     as
                         well as one conversation with members of the Columbia administration involved in
                         well as one  conversation    with  members    of the  Columbia    administration    involved   in
                         the negotiations.
                         the negotiations. II want
                                              want toto emphasize
                                                        emphasize that
                                                                     that Mahmoud
                                                                          Mahmoud Khalil’s      involvement was
                                                                                       Khalil's involvement     was not
                                                                                                                     not as
                                                                                                                          as
                         a member   of CUAD.   As  I understood   it—and    also as is my  understanding
                         a member of CUAD. As I understood it-and also as is my understanding from the       from   the
                         Columbia administrators
                         Columbia   administrators withwith whom
                                                             whom II spoke—Mr.
                                                                      spoke-Mr. Khalil
                                                                                    Khalil served
                                                                                            served as
                                                                                                    as aa negotiator
                                                                                                          negotiator
                         between   CUAD    and other   student protesters,   on  the  one  hand,
                         between CUAD and other student protesters, on the one hand, and the      and the Columbia
                                                                                                           Columbia
                         administration,   on the   other. He was   not a member     of CUAD,   but
                         administration, on the other. He was not a member of CUAD, but rather he   rather  he was
                                                                                                                was
                         nominated as a person who could serve as a go-between between students and
                         nominated    as a person    who could  serve  as a go-between     between   students    and the
                                                                                                                      the
                         university  administration.    Mahmoud     Khalil’s role was   to negotiate
                         university administration. Mahmoud Khalil's role was to negotiate a peaceful a  peaceful
                         solution between
                         solution between thethe encampment      participants and
                                                 encampment participants        and the
                                                                                      the Columbia
                                                                                          Columbia administration,
                                                                                                     administration, in  in
                         the hopes
                         the hopes of
                                    of avoiding
                                       avoidinginviting
                                                  inviting the
                                                            theNew
                                                               New York
                                                                      York City
                                                                            Citypolice
                                                                                 police department
                                                                                         department ontoonto campus
                                                                                                              campus a  a
                         second  time.
                         second time.



                         Best,
                         Best,
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                   April 10,
                   April     2025
                         10, 2025
                   TO: Executive Office
                   TO: Executive Office for Immigration Review
                                        for Immigration Review
                   Immigration Court
                   Immigration  Court
                   830 Pinehill
                   830 Pinehill Rd
                                Rd
                   Jena, LA
                   Jena, LA 71342
                             71342

                   To the
                   To the Executive
                          Executive Office
                                    Office for
                                           for Immigration
                                               Immigration Review,
                                                           Review,

                   II am
                      am writing
                         writing to
                                 to you
                                    you today
                                        today in defense of
                                              in defense of Mahmoud
                                                            Mahmoud Khalil.
                                                                    Khalil. My
                                                                            My name
                                                                               nameis
                                                                                    is                                     , and
                                                                                                                             and II amam
                   aa graduate
                       graduate ofof Columbia
                                     Columbia                               , 2024).
                                                                              2024). Before
                                                                                      Before graduating
                                                                                               graduating in   in May    2024, II served
                                                                                                                   May 2024,      served
                    as  a University   Senator,   representing
                   as a University Senator, representing the     the                                       at  Columbia    University.
                                                                                                           at Columbia University.
                    In the  2023-2024     academic    year,  I was  serving
                   In the 2023-2024 academic year, I was serving as a       as  a                                                    , and
                                                                                                                                       and
                    by  virtue of that  role I was  a member     of the Senate   Executive    Committee.       It
                   by virtue of that role I was a member of the Senate Executive Committee. It is through my work is through  my    work
                    as a
                   as     student leader
                        a student   leader within
                                             within the
                                                    the University
                                                         University Senate
                                                                     Senate (particularly    in the
                                                                              (particularly in  the context
                                                                                                     context of of the
                                                                                                                    the pro-Palestine
                                                                                                                        pro-Palestine
                    protests and
                   protests    and the
                                    the ensuing
                                         ensuing injustices
                                                   injustices and
                                                               and controversies
                                                                    controversies atat Columbia)
                                                                                       Columbia) that that II met,
                                                                                                              met, befriended,
                                                                                                                     befriended, andand
                    interacted with
                   interacted    with Mahmoud.
                                       Mahmoud. ItIt isis through  that same
                                                          through that  same work
                                                                               work that
                                                                                     that II have   firsthand knowledge
                                                                                             have firsthand       knowledge ofof his
                                                                                                                                   his
                   relationship
                    relationship toto Columbia
                                      Columbia University
                                                   University Apartheid
                                                               Apartheid Divest
                                                                          Divest (CUAD).
                                                                                   (CUAD).

                   The  main point
                   The main    point of
                                     of this letter is
                                        this letter  is to
                                                        to define
                                                           define what
                                                                   what Mahmoud's      role was
                                                                          Mahmoud’s role     was as
                                                                                                  as itit relates
                                                                                                          relates to  CUAD.
                                                                                                                   to CUAD.
                   Everything   in this letter is from   my  personal    experience   and  perspective     of
                   Everything in this letter is from my personal experience and perspective of the 2023-2024   the 2023-2024
                   academic year.
                   academic    year. While
                                      While II cannot
                                               cannot speak
                                                         speak for
                                                                 for anyone
                                                                     anyone else,
                                                                              else, any
                                                                                    any group,
                                                                                         group, or
                                                                                                 or any
                                                                                                    anyinstitution,
                                                                                                            institution,II believe
                                                                                                                           believe that
                                                                                                                                    that
                   my  understandings     of the  situations   and   relationships  that I discuss in    this letter
                   my understandings of the situations and relationships that I discuss in this letter are opinions  are  opinions
                   that are
                   that are shared
                            shared widely
                                      widely by
                                              by most
                                                  most who
                                                         who know
                                                               know Mahmoud
                                                                      Mahmoud and and anyone
                                                                                       anyone who
                                                                                                whointeracted
                                                                                                        interacted with
                                                                                                                      with him
                                                                                                                            him in
                                                                                                                                in the
                                                                                                                                   the
                   context of
                   context     the student
                            of the           movement for
                                    student movement        for Palestine
                                                                Palestine atat Columbia.
                                                                               Columbia.

                   Mahmoud
                   Mahmoud Khalil
                              Khalil was
                                      was not
                                          not aa member
                                                 member oror aa leader
                                                                leader of
                                                                        of CUAD.
                                                                           CUAD. HeHe was
                                                                                       was known
                                                                                           known by
                                                                                                  by many,
                                                                                                     many, including
                                                                                                            including
                   myself, as
                   myself, as aa compassionate,    diplomatic, intelligent,
                                 compassionate, diplomatic,                  and passionate
                                                                intelligent, and            Palestinian student
                                                                                 passionate Palestinian student who
                                                                                                                 who
                   advocated for his people and for the basic right to freedom of speech and protest. That is
                   advocated   for his people  and for the basic  right to freedom  of speech and  protest. That is why
                                                                                                                    why
                   protestors
                   protestors in
                              in the Columbia Encampment
                                 the Columbia Encampment (also
                                                         (also known
                                                               known as
                                                                     as the
                                                                        the Gaza
                                                                            Gaza Solidarity
                                                                                 Solidarity Encampment)
                                                                                            Encampment)
                   asked Mahmoud
                   asked Mahmoud to to negotiate
                                       negotiate with
                                                 with the
                                                       the University
                                                           University on
                                                                      on their
                                                                          their behalf,
                                                                                behalf, and
                                                                                         and why
                                                                                             why he
                                                                                                  he agreed
                                                                                                      agreed to
                                                                                                             to
                   represent them at the negotiating table. I know this from my role as part of the University Senate
                   represent them at the negotiating  table. I know this from  my   role as part of the University Senate
                   delegation
                   delegation that
                              that mediated and observed
                                   mediated and observed the negotiations. Any
                                                         the negotiations.     allegation that
                                                                           Any allegation      Mahmoud was
                                                                                          that Mahmoud was a
                                                                                                           a
                   member of
                   member of CUAD is unequivocally
                             CUAD is               false and
                                     unequivocally false and has
                                                             has no
                                                                 no basis
                                                                    basis in
                                                                          in fact.
                                                                             fact.

                   There were
                   There  were many
                                many parties  involved with
                                      parties involved with the
                                                            the Encampments
                                                                Encampments on
                                                                            on all
                                                                               all sides,
                                                                                   sides, so
                                                                                          so here
                                                                                             here is
                                                                                                  is a
                                                                                                     a breakdown
                                                                                                       breakdown
                   of the relevant groups:
                   of the relevant groups:
                          1. Columbia
                          1. Columbia Encampment
                                          Encampment (or  (or the  Encampment) -- aa non
                                                              the Encampment)          non monolithic
                                                                                           monolithic group
                                                                                                       group ofof protestors
                                                                                                                  protestors who
                                                                                                                             who
                             set  up camp
                             set up   camp on on the Columbia University
                                                 the Columbia    University lawn
                                                                            lawn toto demand,
                                                                                      demand, among     other things,
                                                                                               among other     things, disclosure
                                                                                                                       disclosure
                             and
                             and divestment
                                   divestment from     companies involved
                                                 from companies     involved in the oppression
                                                                             in the  oppression and
                                                                                                 and killing
                                                                                                      killing of
                                                                                                              of Palestinians.
                                                                                                                 Palestinians.
                             This included both members of CUAD and allies who were Columbia students not
                             This   included   both members     of CUAD   and  allies who  were  Columbia    students  not
                             affiliated with
                             affiliated  with CUAD.
                                               CUAD.
                          2. Encampment
                          2.                   Negotiators -- There
                             Encampment Negotiators           There were
                                                                      were two
                                                                           two students
                                                                                students who
                                                                                          who represented
                                                                                               represented thethe Encampment
                                                                                                                   Encampment
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                             in
                             in negotiations
                                negotiations with    the University.
                                                with the University. One
                                                                      One of
                                                                           of them
                                                                              them was
                                                                                     was Mahmoud
                                                                                          Mahmoud Khalil,
                                                                                                     Khalil, and
                                                                                                              and the
                                                                                                                   the other
                                                                                                                       other was
                                                                                                                             was
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                         3. University
                         3. University Senate   delegation -- a
                                        Senate delegation       a group
                                                                  group ofof University
                                                                             University Senators,
                                                                                          Senators, some      witnessing the
                                                                                                      some witnessing     the
                            negotiations as neutral observers, and others serving as neutral mediators to help both
                            negotiations  as  neutral observers,     and  others   serving  as  neutral  mediators  to help  both
                            sides come
                            sides  come to
                                         to an
                                            an agreement.
                                                agreement. We We were
                                                                    were asked
                                                                          asked to to take
                                                                                      take on
                                                                                            on this
                                                                                               this role
                                                                                                    role by
                                                                                                          by the
                                                                                                             the Encampment
                                                                                                                 Encampment
                            Negotiators, who
                            Negotiators,  who wanted
                                                wanted aa trusted,
                                                           trusted, neutral    body to
                                                                      neutral body    to ensure
                                                                                         ensure that
                                                                                                  that the
                                                                                                        the University
                                                                                                            University
                            administration dealt
                            administration  dealt with
                                                  with them
                                                        them inin good
                                                                   good faith.
                                                                         faith. This
                                                                                This format
                                                                                       format for
                                                                                              for the
                                                                                                   the negotiations  was agreed
                                                                                                        negotiations was   agreed
                            to by the University.
                            to by the University.
                         4. University
                         4.            Negotiators -- members
                            University Negotiators     members of   of the
                                                                       the University    administration who
                                                                           University administration       who represented
                                                                                                                represented thethe
                            University in
                            University in the
                                          the negotiations
                                               negotiations and
                                                              and reported
                                                                    reported toto senior
                                                                                  senior University
                                                                                          Universityleadership
                                                                                                       leadership
                         5. University (or University  Administration)     - the  senior  University   leadership
                         5. University (or University Administration) - the senior University leadership who       who made
                                                                                                                         made thethe
                            ultimate decisions
                            ultimate decisions when
                                                 whenitit came
                                                          came to to the
                                                                     the negotiations.
                                                                         negotiations. This
                                                                                          This included
                                                                                                included the
                                                                                                           the President
                                                                                                               President of
                                                                                                                          of the
                                                                                                                              the
                            Columbia,   the Board  of Trustees,     and  whoever     else they  decided   to include
                            Columbia, the Board of Trustees, and whoever else they decided to include in their       in their
                            decision-making
                            decision-makin     process
                                            g process

                  During this
                  During this time,
                              time, II spent
                                       spent many hours, sometimes
                                             many hours, sometimes almost
                                                                   almost the
                                                                          the entire
                                                                              entire day,
                                                                                     day, in
                                                                                          in the
                                                                                             thenegotiating
                                                                                                 negotiating room
                                                                                                             room
                  with
                  with Mahmoud
                       Mahmoud and
                               and the
                                   the others.
                                       others. Not
                                               Not aa single
                                                      single negotiating
                                                             negotiating session
                                                                         session would
                                                                                 would pass
                                                                                       pass without
                                                                                            withoutMahmoud
                                                                                                    Mahmoud
                  stating that
                  stating that he is not
                               he is not aa member
                                            member ofof CUAD
                                                        CUAD and
                                                               and that
                                                                   that he
                                                                        he does
                                                                           does not  have the
                                                                                not have  the power
                                                                                              power to
                                                                                                     to tell
                                                                                                        tell the
                                                                                                             the
                  Encampment     what   to do. This was  not some negotiating tactic. When  I was not
                  Encampment what to do. This was not some negotiating tactic. When I was not in the  in the
                  negotiating room,
                  negotiating  room, II observed
                                        observed what
                                                  what happened
                                                        happened inin the
                                                                      the Encampment
                                                                          Encampment and
                                                                                       and how   they made
                                                                                            how they  made decisions.
                                                                                                               decisions.
                  The Encampment Negotiators,
                  The Encampment Negotiators,including
                                              including Mahmoud,
                                                        Mahmoud, would
                                                                 would come
                                                                       come down
                                                                            down and
                                                                                 and provide
                                                                                     provide the
                                                                                             the latest
                                                                                                 latest
                  update to
                  update to aa committee
                               committee of
                                          of members
                                             members inin the
                                                          the Encampment,
                                                              Encampment, which
                                                                            which included
                                                                                  included some
                                                                                           some CUAD
                                                                                                  CUAD members.
                                                                                                         members.
                  This committee
                  This committee would
                                   would then
                                         then discuss
                                               discuss the
                                                       the updates  and then
                                                            updates and then share
                                                                             share them
                                                                                    them with
                                                                                         with the
                                                                                              the entire
                                                                                                  entire
                  Encampment
                  Encampment during
                             during an
                                    an "assembly" meeting. There
                                       “assembly” meeting. There were
                                                                 were times
                                                                      times when
                                                                            when they
                                                                                 they just had Mahmoud
                                                                                      just had Mahmoud
                  and/or
                  and/or            share  the updates
                                    share the   updates directly
                                                           directly at
                                                                    at assembly.
                                                                       assembly. IfIf there
                                                                                      there waswas aa decision
                                                                                                       decision to to be made (for
                                                                                                                      be made      (for
                  example,    to  accept  or  decline  a  given  deal), that  would   be  voted   on  at  assembly
                  example, to accept or decline a given deal), that would be voted on at assembly by everyone in       by everyone      in
                  the  Encampment,      which    included   both  CUAD    and   non-CUAD
                  the Encampment, which included both CUAD and non-CUAD members. There would bemembers.     There    would   be
                  individuals who
                  individuals   who spoke
                                      spoke up    in favor
                                              up in  favor of
                                                            of or
                                                               or against
                                                                  against particular
                                                                            particular actions
                                                                                        actions oror decisions,
                                                                                                     decisions, meaning
                                                                                                                    meaning there
                                                                                                                                there
                  was an
                  was      opportunity to
                        an opportunity    to discuss
                                             discuss or or debate
                                                           debate atat assembly
                                                                       assembly as  as well.
                                                                                       well. The
                                                                                              The Encampment          Negotiators
                                                                                                    Encampment Negotiators
                  would   then   take this  decision   back  into the  negotiating   room   during    the
                  would then take this decision back into the negotiating room during the next session to  next  session    to continue
                                                                                                                               continue
                  in trying to  reach  an  agreement.      So, in the  entire process,    Mahmoud       was
                  in trying to reach an agreement. So, in the entire process, Mahmoud was fully faithful in   fully faithful in
                  representing
                  representing the the demands
                                       demands of  of the
                                                      the Encampment
                                                           Encampmentin     in the
                                                                               thenegotiations,
                                                                                    negotiations, andand held
                                                                                                           heldnono position
                                                                                                                      position toto make
                                                                                                                                    make
                  decisions.   He   was,  in a sense,    a messenger     and   an  ambassador,     and
                  decisions. He was, in a sense, a messenger and an ambassador, and he would constantly   he  would    constantly
                  ensure that
                  ensure   that everyone
                                  everyone inin the
                                                the negotiating
                                                     negotiating room
                                                                   room understood
                                                                          understood the the limitations
                                                                                              limitations ofof his
                                                                                                               his influence
                                                                                                                    influencein  in the
                                                                                                                                    the
                  process   as   a non-CUAD       member,    particularly because     he  respected
                  process as a non-CUAD member, particularly because he respected the democratic        the  democratic
                  decision-making
                  decision-making of   of the  Encampment.
                                          the Encampment.

                  This should be
                  This should be enough
                                 enough to to explain
                                              explain that Mahmoud was
                                                      that Mahmoud   was not
                                                                          not aa member
                                                                                 member of
                                                                                        of CUAD,
                                                                                           CUAD, and
                                                                                                 and was
                                                                                                     was simply
                                                                                                          simply
                  negotiating on behalf
                  negotiating on behalf of
                                        of the  Encampment (which
                                            the Encampment    (which included
                                                                     included CUAD
                                                                                CUAD and
                                                                                     and non-CUAD  protestors); he
                                                                                         non-CUAD protestors);  he
                  would constantly
                  would            repeat this
                        constantly repeat        fact, and
                                            this fact, and all
                                                            all of his interactions
                                                                of his interactions with
                                                                                     with CUAD
                                                                                          CUAD and
                                                                                                 and the
                                                                                                     the Encampment
                                                                                                         Encampment
                  were aligned with this reality. But, I want   to also  back  up a bit and share another  interaction with
                  were aligned with this reality. But, I want to also back up a bit and share another interaction      with
                  Mahmoud that
                  Mahmoud   that gives
                                 gives more    context and
                                       more context      and evidence
                                                              evidence forfor him
                                                                              him not
                                                                                  not being
                                                                                      being aa member
                                                                                               member of
                                                                                                       of CUAD.
                                                                                                          CUAD.

                  My first
                  My  first real
                             realinteraction
                                  interaction with
                                               with Mahmoud
                                                    Mahmoud was
                                                             was in
                                                                  in February
                                                                     February 2024,
                                                                               2024, when
                                                                                     when he
                                                                                           he and
                                                                                              and aa handful
                                                                                                     handful of
                                                                                                              of other
                                                                                                                 other
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                  Palestinian students
                  Palestinian    students atat Columbia,
                                               Columbia, across
                                                         across different
                                                                different schools,
                                                                          schools, came
                                                                                   came to
                                                                                        tomy
                                                                                           my apartment
                                                                                               apartment to
                                                                                                          to meet
                                                                                                             meet with
                                                                                                                    with
       39 of




                  me and
                  me and some
                         some other
                              other University Senators. The
                                    University Senators. The University administration had
                                                             University administration      just announced
                                                                                       had just  announced an
                                                                                                           an
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                  Interim
                  Interim University
                           University Policy
                                       Policy for
                                              for Safe
                                                  Safe Demonstrations,
                                                        Demonstrations, which
                                                                          which the
                                                                                 the Senate
                                                                                      Senate Executive
                                                                                              Executive Committee
                                                                                                          Committee had
                                                                                                                     had
                  consulted on
                  consulted   on in
                                  in an
                                     an attempt
                                        attempt to
                                                 to ensure
                                                    ensure that
                                                            that the
                                                                 the admin
                                                                     admin did
                                                                            did not
                                                                                not repeat
                                                                                     repeat their
                                                                                            their past
                                                                                                  past transgressions
                                                                                                       transgressions of
                                                                                                                       of
                  limiting the free  speech  rights of protesting  students. While  the University  Senate  did not
                  limiting the free speech rights of protesting students. While the University Senate did not agree agree
                  with this
                  with this new
                            new policy
                                policy (it was never
                                       (it was never voted
                                                     voted on
                                                           on by
                                                              by the
                                                                 the full
                                                                     full University Senate), itit was
                                                                          University Senate),      was aa fairer
                                                                                                          fairer and
                                                                                                                 and less
                                                                                                                     less
                  restrictive framework
                  restrictive framework for
                                          for managing
                                              managing demonstrations      when compared
                                                         demonstrations when     compared to
                                                                                           to how the University
                                                                                              how the             was
                                                                                                      University was
                  previously   operating. Because   of this, a few of us University Senators wanted  to meet
                  previously operating. Because of this, a few of us University Senators wanted to meet with  with
                  CUADleadership
                  CUAD     leadership to
                                      to explain
                                         explain the
                                                 the new
                                                     new policy,
                                                           policy, come
                                                                   come to
                                                                         to an
                                                                            an agreement
                                                                               agreement on
                                                                                          on abiding
                                                                                             abiding by
                                                                                                     by it,
                                                                                                        it, and
                                                                                                            and
                  hopefully
                  hopefully open
                            open an
                                 an ongoing
                                    ongoing dialogue
                                            dialogue that
                                                     that would
                                                          would help
                                                                helpinform
                                                                     inform further
                                                                            further reforms
                                                                                    reforms to
                                                                                            to University
                                                                                               University policies.
                                                                                                          policies.
                  (It is
                  (It  is important
                          important to
                                    to note
                                       note that
                                            that CUAD
                                                 CUAD does
                                                      does not
                                                           not have
                                                               have aa formal
                                                                       formal leadership
                                                                              leadership structure,
                                                                                         structure, though
                                                                                                    though we
                                                                                                           we did
                                                                                                              did
                  not know about
                  not know about how
                                 how they
                                     they operated
                                          operated when
                                                   when initiating
                                                         initiating the
                                                                    the meeting).
                                                                        meeting). Instead of meeting
                                                                                  Instead of meeting with us, the
                                                                                                     with us, the
                  CUAD members
                  CUAD     members who who we we were
                                                  were in
                                                        in contact
                                                            contact with
                                                                      with suggested
                                                                           suggested that
                                                                                        that we
                                                                                              we meet
                                                                                                  meet with
                                                                                                         with aa delegation
                                                                                                                 delegation ofof
                  Palestinian students
                  Palestinian    students andand hear
                                                  hear directly
                                                        directly from
                                                                  from them
                                                                        them about    their personal
                                                                               about their   personal experiences
                                                                                                        experiences trying     to
                                                                                                                       trying to
                  advocate for
                  advocate    for their
                                   their people.
                                         people. WeWe believed
                                                       believed that
                                                                   that taking
                                                                        taking that
                                                                                that meeting
                                                                                     meeting waswas important
                                                                                                      important toto ensure
                                                                                                                     ensure that    our
                                                                                                                              that our
                  constituents    were   heard   (Palestinians    students   and  their allies were   rarely ever
                  constituents were heard (Palestinians students and their allies were rarely ever afforded the     afforded   the
                  common courtesy
                  common      courtesy of    being able
                                          of being        to share
                                                    able to          their stories
                                                             share their            with University
                                                                           stories with  University leadership),     to inform
                                                                                                       leadership), to  inform our
                                                                                                                                 our
                  decision-making with
                  decision-making      with the
                                              the needs
                                                  needs ofof some
                                                             some of of our
                                                                        our most
                                                                             most vulnerable
                                                                                   vulnerable community
                                                                                                 community members,
                                                                                                               members, to to build
                                                                                                                               build
                  trust, and
                  trust, and toto eventually
                                  eventually getget around
                                                    around toto meeting
                                                                meeting with
                                                                           with CUAD
                                                                                CUAD and and opening
                                                                                               opening that
                                                                                                         that dialogue.
                                                                                                               dialogue. The
                                                                                                                          The
                  Palestinian students
                  Palestinian    students diddid not
                                                 not feel
                                                     feel comfortable
                                                           comfortable or or safe
                                                                             safe meeting
                                                                                   meeting with
                                                                                              with us
                                                                                                   us without
                                                                                                       withoutmasks
                                                                                                                 masks onon campus,
                                                                                                                            campus,
                  and this
                  and   this was
                             was ofof course
                                      course understandable
                                                understandable given
                                                                   given the
                                                                          the persecution
                                                                               persecution andand doxxing
                                                                                                   doxxing that
                                                                                                             that they
                                                                                                                   they and
                                                                                                                         and their
                                                                                                                              their
                  allies  had  already   faced   thus far. So,  I offered  my  apartment     as a more    neutral
                  allies had already faced thus far. So, I offered my apartment as a more neutral meeting space.   meeting   space.

                  Mahmoud introduced
                  Mahmoud   introduced himself  to me
                                        himself to me and
                                                      and my
                                                          my colleagues
                                                              colleagues as
                                                                         as folks
                                                                            folks started
                                                                                  started trickling
                                                                                           trickling into
                                                                                                     into the
                                                                                                          the
                  apartment, and  I recognized him from other events around  campus.   I did not know
                  apartment, and I recognized him from other events around campus. I did not know he was he was
                  Palestinian until
                  Palestinian       then. II kicked
                              until then.           off our
                                             kicked off     meeting and
                                                        our meeting and Mahmoud
                                                                        Mahmoud acted
                                                                                acted as
                                                                                      as aa sort
                                                                                            sort of facilitator for
                                                                                                 of facilitator for
                  their side.
                  their side. When
                              When introducing
                                   introducing everyone,
                                               everyone, he
                                                         hemade
                                                            made aa few
                                                                    few things
                                                                        things clear:
                                                                               clear: 1) they were
                                                                                      1) they were not
                                                                                                   not here
                                                                                                       here
                  representing CUAD, 2)
                  representing CUAD, 2) some
                                        some of
                                             of them may be
                                                them may be involved
                                                             involved with
                                                                      with CUAD in various
                                                                           CUAD in various capacities,
                                                                                           capacities, but
                                                                                                       but not
                                                                                                           not
                   all of
                  all  of them
                          them are,
                                are, and
                                     and 3)
                                          3) he
                                             he was
                                                was not
                                                     not affiliated
                                                         affiliated with
                                                                    with CUAD.
                                                                         CUAD. As
                                                                                As the
                                                                                    the meeting
                                                                                        meeting went
                                                                                                 went on,
                                                                                                      on, itit became
                                                                                                               became clear
                                                                                                                       clear
                  to me that Mahmoud was a trusted member of the Palestinian student community, and it
                   to  me  that Mahmoud    was  a trusted  member    of the Palestinian student community,     and it
                   became clear
                  became           why -- he
                             clear why    he was
                                              was empathetic,
                                                  empathetic, knowledgeable,
                                                                 knowledgeable, wise,
                                                                                  wise, diplomatic, and steadfast.
                                                                                        diplomatic, and steadfast. He    did
                                                                                                                      He did
                  not
                  not need to be
                      need to be aa member
                                    member of CUAD or
                                           of CUAD or the
                                                      the leader
                                                          leader of a student
                                                                 of a student org
                                                                              org to
                                                                                  to advocate
                                                                                     advocate for his people;
                                                                                              for his people; he
                                                                                                              he
                   just needed
                  just  needed to
                               to be
                                  be who
                                     who he
                                         he is
                                            is and
                                               and stay
                                                   stay engaged
                                                        engaged where
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                                                                                  the most
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                  From that
                  From  that first
                              first interaction,
                                      interaction, II knew
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                                                               that Mahmoud
                                                                    Mahmoud waswas neither
                                                                                     neither aa leader
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                                                                                                                                CUAD.
                  But, because
                  But, because of   of that
                                        that same
                                              same first
                                                      first meeting,
                                                            meeting, II knew
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                  personal capacity,
                  personal   capacity, to  to support
                                               support hishis community
                                                              community and
                                                                          and stand
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                                                                                       up for  what is
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                                                                                                          right. So   when, a
                                                                                                                  So when,    a few
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                  months   later,   I  walked    into a  room   where  negotiations   between     the
                  months later, I walked into a room where negotiations between the University and the University     and the
                  Encampment were
                  Encampment         were toto take
                                                take place,
                                                      place, II was
                                                                 was not
                                                                     not surprised
                                                                         surprised toto see
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                                                                                              him sitting
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                  protestors in
                  protestors   in the
                                   the Encampment.
                                         Encampment. They   They could
                                                                   could not
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                                                                                    asked a  a better
                                                                                               better person
                                                                                                        person to to speak
                                                                                                                     speak onon their
                                                                                                                                 their
                  behalf, and indeed, the University could not have asked for a better negotiating partner; not
                  behalf, and    indeed,     the   University   could not have   asked   for a better   negotiating     partner;   not
                  because he
                  because         would agree
                             he would      agree to to their
                                                        their unserious
                                                              unserious demands,
                                                                         demands, but      because Mahmoud
                                                                                      but because     Mahmoud was    was composed
                                                                                                                          composed
                  and honorable. He
                  and honorable. He would
                                    would (and
                                          (and did)
                                               did) deal
                                                    deal with the University
                                                         with the University with
                                                                             with equitability
                                                                                  equitability and
                                                                                               and honesty.
                                                                                                   honesty. ItIt is a
                                                                                                                 is a
                  shame that
                  shame that the
                             the rest
                                 rest of
                                      of that
                                         that chapter
                                              chapter ended
                                                      ended so disgracefully.
                                                            so disgracefully.
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                   To sum
                   To  sum up
                            up this letter for
                               this letter for support,
                                               support, I,I, in
                                                             in my  capacity as
                                                                my capacity     as a
                                                                                   a student
                                                                                     student leader
                                                                                               leader within
                                                                                                      within the
                                                                                                             the University
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                   Senate, met
                   Senate,       with and
                            met with   and worked
                                            worked directly
                                                      directly with
                                                                with Mahmoud
                                                                      Mahmoud Khalil      to help
                                                                                   Khalil to help better  represent and
                                                                                                   better represent and meet
                                                                                                                          meet
                   the needs  of  the  University  student    body  and    various other  stakeholders.    Through
                   the needs of the University student body and various other stakeholders. Through all of my      all of my
                   interactions with
                   interactions with Mahmoud
                                       Mahmoudin   in that
                                                      that capacity,
                                                            capacity, itit was
                                                                           was clear
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                   of CUAD. Any
                              Any allegation
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                                                to the
                                                   the contrary
                                                        contrary isis baseless.
                                                                      baseless.

                   II hope
                      hope you
                           you will consider these
                               will consider these facts
                                                   facts as
                                                         as you
                                                            you make
                                                                make this
                                                                     this decision.
                                                                          decision. Thank
                                                                                    Thank you.
                                                                                          you.

                                                                                                                     Sincerely,
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                                            ENSURE DOORS                                            ACCESS
                                            CLOSE AND LOCK                                  (PIGGYBACKING)
                                              BEHIND YOU




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                                                                                             SUSPICIOUS
                                                   VERIFY                                      ACTIVITY
                                               VISITORS BEFORE                               IMMEDIATELY
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                                                     CONTACT PUBLIC SAFETY AT (212) 854-5555

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               For Safety's Sake,
               Don't hold the door for
               anyone you don't know.
               This may seem impolite,
               but your fellow residents
                 will understand.
                 This is a matter of Safety-
                 Yours and Your Neighbors'.
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                                                                                                           March 19, 2025


                      Honorable Michael E. Farbiarz
                      United States District Judge
                      District of New Jersey
                      Martin Luther King Courthouse
                      50 Walnut Street
                      Newark, NJ 07101


                      PURSUANT TO 28 USC 1746, I HEREBY DECLARE THE FOLLOWING:

                      Dear Judge Farbiarz,

                      I am writing this letter to you in support of Mahmoud Khalil. My name is                and I
                      am a U.S. citizen and identify as Jewish. I graduated from Columbia University’s School of
                      International and Public Affairs (SIPA) in May 2024 and have known Mahmoud Khalil for about
                      two years since he started his studies at SIPA in January 2023.

                      I consider Mahmoud a colleague, fellow advocate and profound human being. I regard
                      Mahmoud as a thoughtful, committed, highly intelligent, curious and pacifistic person. I
                      developed this understanding of his character through my many interactions with him at
                      Columbia in classrooms, social outings, and advocacy circles. I have had countless discussions
                      with him about international affairs, politics and the Israeli-Palestinian conflict. I can point to
                      several specific examples that highlight Mahmoud commitment to non-violent, respectful
                      language and building an inclusive pro-Palestinian movement on campus.

                      My first interaction with Mahmoud was in March 2023. Over the prior winter break, I
                      participated in a trip to the Occupied Palestinian Territories organized by PalTrek National. As a
                      follow-up to the trip, a discussion was convened with participants of the trip to highlight our
                      experience. I offered to speak about my experience as a Jewish person who has traveled to Israel
                      on multiple occasions before this trip. I was honest about my participation in Birthright
                      International, a fully-funded trip for American Jewish youth to experience Israel. Birthright has
                      received criticism from anti-Israel groups for its support of resettling American Jews to Israel,
                      often at the expense of Palestinian families. While some students at SIPA expressed valid
                      concerns about including my experience over others from the trip, Mahmoud personally
                      welcomed my inclusion in the panel. Mahmoud saw the importance of including my voice in this
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                      discussion and highlighting the complicated pressures on American Jews. Mahmoud, starting at
                      SIPA in January, did not participate in the trip and did not know me beyond my identity as




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                      Jewish and previous participant in Birthright. Instead of leaning into stereotypes or succumbing
                      to the pressures of others, Mahmoud saw me as a human being with a long and complicated
                      relationship to my religious identity and its connection to the state of Israel.

                      The next incident I’d like to highlight occurred in October 2023. Following the Hamas-led
                      terrorist attacks on October 7th and subsequent military response by Israel, the Dean of SIPA,
                      Keren Yarhi-Milo, asked to meet with some SIPA students to understand the impact of the war
                      on Palestinian students. Mahmoud was in attendance. Mahmoud began the meeting by asking
                      Dean Yarhi-Milo, an Israeli citizen, how she, her family and community were doing in light of
                      the terrorist attack. In asking the question, Mahmoud condemned the violent, hateful act by
                      Hamas terrorists and expressed grief for the immediate loss of life and continued impact on the
                      communities. Even Dean Yarhi-Milo appeared touched by the question and expressed gratitude
                      for his consideration of her experience of this violence as an Israeli woman.

                      From October 2023, tensions on campus elevated. I’ve watched Mahmoud on several occasions
                      de-escalate tense situations on campus, leading with peace to usher a constructive dialogue rather
                      than inciting aggression that leads to hate speech. I saw Mahmoud, as well as other Arab
                      classmates, confronted and, at times, harassed by other students, asking him if he supported
                      Hamas. Mahmoud would not raise his voice or respond with aggression, but instead simply
                      answer the question by condemning Hamas and all forms of violent extremism. Mahmoud
                      recognized this was a tactic to coerce him to promote hateful or extremist language, but he never
                      wavered in his denouncement of all forms of violent extremism, including the actions of Hamas
                      on October 7th.

                      On October 25th 2023, over 20 students, including myself, were targeted in a doxing campaign
                      by the right-wing media organization, Accuracy in Media. The organization launched an online
                      petition, personal website for each student, and paraded a billboard truck around campus
                      displaying my name and photo under the banner, “Columbia’s Leading Antisemite.” The false
                      statement was attributed to my position as the President of SIPA’s Human Rights Working
                      Group. Mahmoud, not targeted at that time by this doxing campaign, reached out to me
                      personally to check in on my well-being. He recognized that my identity and work experience
                      with Jewish organizations contradicted the claim of antisemitism, and offered his support. He
                      expressed his support not in justification of antisemitism, but as defamatory action to distract
                      from legitimate antisemitism happening on campus, saying to me, “by targeting the Jewish
                      student and ignoring the very real antisemitism happening on campus, [Accuracy in Media] has
                      made it clear their motives are not to protect Jewish people.”

                      I can point to additional incidents that occurred in April 2024 during the Solidarity Encampment
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                      at Columbia University. During the Encampment, Mahmoud led community-wide discussions on
                      how to ensure the space was free from hate and discrimination. Through this, he helped develop




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                      community guidelines for the encampment that indicated any expression of hate speech will not
                      be tolerated. On one occasion, some individuals made remarks that I personally found offensive
                      as a Jewish person. I saw Mahmoud visibly uncomfortable, and instead of berating or verbally
                      attacking the individuals, he approached them calmly to deescalate the situation by saying,
                      “that’s not a productive approach. We need to focus on law, not emotion.” His priority has
                      always been advocacy through nonviolent means, centering facts, legal arguments, and mutual
                      respect.

                      ICE may attempt to use his participation in the Encampment protest against him, but that would
                      be a complete distortion of reality. Mahmoud has actively included Jewish voices in
                      conversations about Israel-Palestine. In fact, during the first day of Jewish Holy Days of
                      Passover, I asked Mahmoud for his help in hosting a Passover Seder at the Encampment
                      specifically for a non-Jewish audience. Mahmoud was very helpful in connecting me with the
                      leadership of the Encampment and ensuring I had a large, safe space to host the Seder. Not only
                      did he attend the Seder, Mahmoud invited his non-Jewish friends, understanding the importance
                      of including non-Jews in the celebration of this Holy Day. Following the Seder, he commented
                      to me directly, “thank you for hosting and inviting me to this Seder. It was my first time being
                      invited to a Passover Seder and I am very thankful to have learned more about Judaism.” His
                      gratitude and support of this initiative further highlights his understanding of the value of
                      including Jewish voices in typically non-Jewish spaces. In that moment, Mahmoud saw me, not
                      just as a Jew but as a fellow human being equally committed to his message of nonviolence and
                      peace.

                      Additionally, ICE and Federal officials may penalize Mahmoud for his visibility during
                      Columbia’s protests because he was selected as a press representative from the student
                      negotiating team. Only specific students were selected for these roles to ensure the peaceful
                      purpose of the protests were expressed calmly and without hatred. I watched him on several
                      occasions be tested by the press with leading questions that sought to charge the conversation
                      with antisemitic or extremist messaging, and Mahmoud maintained his calmness, commitment to
                      promoting peace on campus and sensitivity to hateful or extremist rhetoric. His role as a student
                      negotiator underscores his commitment to finding a peaceful end to the Encampment through
                      dialogue with Columbia’s administration.

                      I trust these examples provide insight into Mahmoud’s character and context to his participation
                      in nonviolent protests that may be weaponized against him. His commitment to peaceful
                      dialogue, particularly the creation of interfaith spaces, exemplifies what I have personally
                      witnessed: Mahmoud has never engaged in or expressed support for antisemitic nor extremist
                      ideology. He is an incredible advocate, good-faith member of the Columbia Alumni community,
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                      and a kind human being. I urge you to support his immediate release.




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                      Honorable Jesse M. Furman
                      United States District Judge
                      Southern District of New York
                      Thurgood Marshall Courthouse
                      40 Centre Street, New York, NY


                      Dear Judge Furman,

                      I am writing in support of Mahmoud Khalil. My name is                        and I am an
                      American Jewish woman who believes in the importance of Israel as a Jewish
                      homeland. I have known Mahmoud Khalil for over two years, since January 2023 as his
                      professor, colleague, and friend. I have always known Mahmoud as someone working
                      to be part of the solution towards a peaceful resolution to the conflict in Palestine and
                      Israel. He is committed to peaceful development which is also what our graduate
                      program – the Master of Public Administration in Development Practice (MPA-DP)–
                      trains students on.
                      I have known Mahmoud in my capacity as his Professor at Columbia University for two
                      semesters                                                          , and then as his
                      supervisor in his role as a Teaching Assistant for the course
                                                . In between semesters I also interacted with Mahmoud, due to
                      his role as a Program Assistant for the MPA-DP program which I am affiliated with as a
                      Professor and alumna.
                      I have worked with Mahmoud and directly seen and graded his work. This work has
                      demonstrated a deep and persistent commitment to humanitarian principals and doing
                      work that contributes to peace and stability. Both semesters when he was my student,
                      he focused his semester long project assignments on a non-profit organization (Jusoor,
                      where he also previously worked) providing education services to refugees. I had many
                      conversations with him about how to deepen educational impact and ensure that
                      refugees would have real economic opportunities to escape cycles of violence and
                      poverty.
                      When it came time to choose a Teaching Assistant for the Fall 2024 iteration of the course,
                      I sought out Mahmoud to apply to the position. His deep expertise with organizational
                      management with international development organizations, his high standards for
                      quality work, as well as his integrity were all reasons I thought he would make a great TA.
                      He effectively served the class and students throughout the semester even as he
                      navigated both global and campus events that were directly impacting him and his family.
                      I can state with full confidence that Mahmoud has never expressed support for Hamas,
                      nor has he ever endorsed any form of extremism. Over the course of our extensive
                      interactions, I have had numerous conversations with him about human rights, justice,
                      and the student protests and I can personally attest to his commitment to nonviolence.
                      In terms of the campus protests, Mahmoud was my student as these events unfolded
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                      and was in the process of being hired as our Teaching Assistant as the encampment
                      was being established. I directly spoke to him about the encampment and Mahmoud




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                      Honorable Jesse M. Furman
                      United States District Judge
                      Southern District of New York
                      Thurgood Marshall Courthouse
                      40 Centre Street, New York, NY


                      Dear Judge Furman,

                              My name is                    and I am writing this letter in support of Mahmoud Khalil. I
                      am currently a junior at Columbia University. I grew up in Forest Hills, Queens, raised by my
                      Jewish mother and my American father. From a young age, I was taught the importance of higher
                      education in shaping a well-rounded individual. My father,                 , exemplified this
                      belief—he graduated from Harvard in 1993, becoming the first in our family to attend an Ivy
                      League institution.
                              Judaism has always been central to my identity. I attended Jewish preschool, went to
                      Hebrew school multiple times a week until my Bar Mitzvah in 2017, celebrated Shabbat every
                      Friday, and was raised with strong Jewish values. I emphasize this not to exaggerate or
                      embellish, but to paint a clear picture of who I am. My Jewish identity is deeply meaningful to
                      me, and in these past 16 months—an incredibly difficult time for the Jewish people—having a
                      strong support system of kind, understanding, and respectful individuals has been more
                      important than ever. Mahmoud is exactly that.
                              From the moment I met Mahmoud 16 months ago, he has been nothing short of a selfless
                      friend and an inspiring mentor. I clearly remember one of our first encounters at a peaceful rally
                      on October 12, 2023. Despite how such events are often misrepresented in the media, this rally
                      was a calm and peaceful demonstration in support of Palestinian rights. Mahmoud took on a
                      protective security role that day, ensuring students were safe from any physical or verbal threats.
                      When people hurled insults and profanities at me and my classmates, Mahmoud was the first to
                      step in and de-escalate the situation. He never raised his voice, never used harsh language, never
                      resorted to aggression—he spoke calmly and respectfully, shielding students, including me, a
                      Jewish student, from harm. He put himself between me and an aggressor, prioritizing my safety
                      over his own. That is not the behavior of an antisemite—that is the behavior of an ally and a
                      friend.
                              In the weeks that followed, I spent many late nights with Mahmoud at friends’
                      apartments, getting to know him and hearing his incredible story—one that led him to work at
                      the U.N. During this time, he also began attending Shabbat dinners I hosted with my friends. He
                      would often bring a dish or a bottle of kosher wine to contribute, embracing the tradition with
                      genuine curiosity and respect. He actively listened to the prayers, enthusiastically engaged with
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                      Jewish culture, and always approached our traditions with kindness.




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